Exhibit B
Alaggia et al.                                                                                                                      261


CSA to authorities and the high rates reported in prevalence         disclosure research, through various mixed methods, to high-
studies. For example, a meta-analysis conducted by Stolten-          light the most convincing findings that should be considered for
borgh, van IJzendoorn, Euser, and Bakermans-Kranenburg               future research, practice, and program planning. This review
(2011) combining estimations of CSA in 217 studies published         centered on the question: What is the state of CSA disclosure
between 1980 and 2008 revealed rates of CSA to be more than          research and what can be learned to apply to future research
30 times greater in studies relying on self-reports (127 in 1,000)   and practice? By way of clarification, the term systematic
than in official report inquiries, such as those based on data       refers to a methodologically sound strategy for searching liter-
from child protection services and the police (4 in 1,000) (Jil-     ature on studies for knowledge construction, in this case the
lian, Cotter, & Perreault, 2014; Statistics Canada 2013). In         CSA disclosure literature, rather than intervention studies. The
other words, while 1 out of 8 people retrospectively report          years spanned for searching the literature were 2000–2016,
having experienced CSA, official incidence estimates indicate        building on previous reviews without a great deal of overlap.
only 1 per 250 children. In a survey of Swiss child services,        Retrieval of relevant research was done by searching interna-
Maier, Mohler-Kuo, Landholt, Schnyder, and Jud (2013) fur-           tional electronic databases: PsycINFO, PsycARTICLES, Edu-
ther found 2.68 cases per 1,000 of CSA disclosures, while in a       cational Resources Information Center, Canadian Research
recent comprehensive review McElvaney (2015) details the             Index, International Bibliography of the Social Sciences, Pub-
high prevalence of delayed, partial, and nondisclosures in           lished International Literature on Traumatic Stress, Sociologi-
childhood indicating a persistent trend toward withholding           cal Abstracts, Social Service Abstracts, and Applied Social
CSA disclosure.                                                      Science Index and Abstracts. This review searched peer-
    It is our view that incidence statistics are likely an under-    reviewed studies. A search of the gray literature (unpublished
estimation of CSA disclosures, and this drives the rationale for     literature such as internal agency documents, government
the current review. Given the persistence of delayed disclosures     reports, etc.) was beyond the scope of this review because
with research showing a large number of survivors only dis-          unpublished studies are not subjected to a peer-review process.
closing in adulthood (Collin-Vézina et al., 2015; Easton, 2013;     Keyword search terms used were child sexual abuse, childhood
Hunter, 2011; McElvaney, 2015; Smith et al., 2000), these            sexual abuse, disclosure, and telling.
issues should be a concern for practitioners, policy makers, and         A search of the 9 databases produced 322 peer-reviewed
the general public (McElvaney, 2015). The longer disclosures         articles. Selected search terms yielded 200 English publica-
are delayed, the longer individuals potentially live with serious    tions, 1 French study, and 1 Portuguese review. The search was
negative effects and mental health problems such as depres-          further refined by excluding studies focusing on forensic inves-
sion, anxiety, trauma disorders, and addictions, without receiv-     tigations, as these studies constitute a specialized legal focus on
ing necessary treatment. This also increases the likelihood of       interview approaches and techniques. As well, papers that
more victims falling prey to undetected offenders. Learning          focused exclusively on rates and responses to CSA disclosure
more about CSA disclosure factors and processes to help              were excluded, as these are substantial areas unto themselves,
advance our knowledge base may help professionals to facil-          exceeding the aims of the review question. Review articles
itate earlier disclosures.                                           were also excluded. Once the exclusion criteria were applied,
    Previous literature reviews examining factors influencing        the search results yielded 33 articles. These studies were sub-
CSA disclosure have served the field well but are no longer          jected to a thematic analysis as described by Braun and Clarke
current. Important contributions on CSA disclosures include          (2006). This entailed (1) multiple readings by the three authors;
Paine and Hansen’s (2002) original review covering the liter-        (2) identifying patterns across studies by coding and charting
ature largely from the premillennium era, followed by London,        specific features; (3) examining disclosure definitions used,
Bruck, Ceci, and Shuman’s (2005) subsequent review, which            sample characteristics, and measures utilized; and (4) major
may not have captured publications affected by “lag to print”        findings were extrapolated. Reading of the articles was initially
delays so common in peer-reviewed journals. These reviews            conducted by the authors to identify general trends in a first
are now dated and therefore do not take into account the             level of analyses and then subsequently to identify themes
plethora of research that has been accumulated over the past         through a deeper second-level analyses. A table of studies was
15 years. Other recent reviews exist but with distinct contribu-     generated and was continuously revised as the selection of
tions on the dialogical relational processes of disclosure (Reit-    studies was refined (see Table 1).
sema & Grietens, 2015), CSA disclosures in adulthood (Tener
& Murphy, 2015), and delayed disclosures in childhood (McEl-
vaney, 2015). This literature review differs by focusing on CSA
                                                                     Key Findings
disclosures in children, youth, and adults from childhood and        First-level analysis of the studies identified key study charac-
into adulthood—over the life course.                                 teristics. Trends emerged around definitions of CSA disclosure,
                                                                     study designs, and sampling issues. First, in regard to defini-
                                                                     tions, the term “telling” is most frequently used in place of the
Method                                                               term disclosure. In the absence of standardized questionnaires
Kiteley and Stogdon’s (2014) systematic review framework             or disclosure instruments, telling emerges as a practical term
was utilized to establish what has been investigated in CSA          more readily understood by study participants. Several
      Table 1. Ch d Sexua Abuse (CSA) D sc osure Stud es: 2000–2016.




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      Study                     Purpose                   Des gn                      Samp e                       F nd ngs                                    Summary

      Gagn er and Co n-         To exp ore d sc osure     Phenomeno og ca             17 men ranged n age          The major ty of the men n the study wa ted A part c pants had d sc osed and
        Véz na (2016)            processes for ma e        methodo ogy used to         from 19 to 67—               unt adu thood to d sc ose the r abuse,       rece ved serv ces before
                                  v ct ms of CSA             nterv ew ma e CSA          average age 47.              w th negat ve stereotypes contr but ng       part c pat ng n the study. Member
                                                            surv vors. The Long         Purpos ve samp ng            to the r de ayed d sc osures. Negat ve       check ng cou d not be done w th
                                                            Interv ew Method            strategy was used            stereotypes contr buted to de ayed           the part c pants to check themes.
                                                            (LIM) gu ded data                                        d sc osure w th try ng to forget. Break ng   Sma but suff c ent s ze for a
                                                            co ect on and                                             so at on was c ted as a mot vator to        qua tat ve nqu ry. Otherw se,
                                                            ana yses.                                                d sc osure a ong w th the a d of var ous     h gh eve of r gor n estab sh ng
                                                                                                                     forms of med a on d sc osure. Important      trustworth ness of the data and
                                                                                                                     contextua ssues such as negat ve             ana ys s. Retrospect ve study
                                                                                                                     stereotyp ng of ma es, sexua ty, and         cou d mp y reca ssues
                                                                                                                     v ct ms were noted. Soc a med a was
                                                                                                                     seen as a fac tator of d sc osures
      Braze ton (2015)          To exp ore the mean ng    Co ect ve case study        17 Afr can Amer can          CSA onset was arge y between the ages 5 One of few stud es to focus
                                  Afr can Amer can          des gn w th us ng           women n m d- fe              and 9. No one ever ta ked to them about      exc us ve y on Afr can Amer can
                                  women make of the r       narrat ve trad t on         between 40 and 63            sex, so they d dn’t have anguage to          women. Sma but suff c ent s ze
                                  traumat c exper ences     (storyboard) for data       who exper enced              d sc ose. Barr ers: fear of fam y            for a qua tat ve nqu ry. Important
                                  w th CSA and how          co ect on and ana ys s.      ntrafam a CSA.              breakdown and remova , not want ng to        cu tura and contextua ssues
                                  they d sc osed across     Qua tat ve                  Purpos ve, snowba ng         tarn sh the fam y’s name, and fear of        were brought forward.
                                  the fe course              nterv ew ng                strategy                     retr but on by fam y members f they          Retrospect ve study that may
                                                                                                                     d sc osed. Pattern of st f ed and            have been affected by reca ssues.
                                                                                                                     d sm ssed d sc osures dent f ed over the     Use of a fe-course perspect ve as
                                                                                                                       fe course. A 17 part c pants dent f ed     a theoret ca ens for
                                                                                                                     sp r tua ty as a pr mary source of           understand ng CSA n the m dd e
                                                                                                                     strength throughout the fe course            to ater years of fe that shou d be
                                                                                                                                                                  cons dered n further
                                                                                                                                                                   nvest gat ons
      Co n-Véz na, Sab onn ,   To prov de a mapp ng of   Qua tat ve des gn us ng     67 ma e and fema e CSA       Three broad categor es were dent f ed as Ha f of the part c pants had not
        Pa mer, and M ne          factors that prevent     LIM.                         adu t surv vors (76%         barr ers to CSA d sc osure: Barr ers         d sc osed the r CSA exper ences
        (2015)                    CSA d sc osures                                        dent f ed as fema e and     from w th n- nterna zed v ct m b am ng,      before the age of 19.
                                  through an eco og ca                                  24% as ma e). Age            mechan sms to protect onese f, and           Retrospect ve aspect of the study
                                   ens from a samp e of                                 ranges from 19 to 69          mmature deve opment at t me of abuse;       cou d mp y reca ssues. A
                                  CSA adu t surv vors.                                  years (M ¼ 44.9).            barr ers n re at on to others—v o ence       part c pants had d sc osed and
                                                                                        Purpos ve samp ng            and dysfunct on n the fam y, power           rece ved counse ng at some
                                                                                        strategy                     dynam cs, awareness of the mpact of          before part c pat ng n the study.
                                                                                                                     te ng, and frag e soc a network;             H gh eve of r gor n estab sh ng
                                                                                                                     barr ers n re at on to the soc a wor d       trustworth ness of the data and
                                                                                                                      abe ng, taboo of sexua ty, ack of           ana ys s
                                                                                                                     serv ces ava ab e, and cu ture or t me
                                                                                                                     per od.
      Lec erc and Wort ey       Study object ves          Adu t ma e ch d sexua       369 adu t ma es who had      D sc osure ncreased w th the age of the      Offender generated data through
        (2015)                     nvest gated the          offenders were              been conv cted of a          v ct m: f penetrat on had occurred, f the    se f-reports cou d be subject to
                                  factors that fac tate     nterv ewed to               sexua offense aga nst a      v ct m was re ated to the offender, f the    cogn t ve d stort ons—
                                  CSA d sc osures           exam ne pred ctors of       ch d aged between 1          v ct m was not v ng w th the offender at     m n m zat on or exaggerat ons.
                                                                                                                                                                                         (continued)
      Table 1. (cont nued)

      Study                    Purpose                     Des gn                     Samp e                      F nd ngs                                      Summary

                                                             v ct m d sc osure.         and 17 years o d.           the t me of the abuse, or f the v ct m       Perspect ves of offenders on
                                                             Sem structured             Major ty were Wh te,        res sted dur ng the offense. Ma e v ct ms    vu nerab ty of v ct ms n re at on
                                                              nterv ews based on        uneducated, a most          and v ct ms from dysfunct ona                to d sc osure cou d be mportant
                                                             the QID                    ha f unemp oyed             backgrounds were ess ke y to d sc ose         nformat on to nform
                                                             quest onna re.             before the r arrest                                                       ntervent ons
      McE vaney and Cu hane    To nvest gate the           F e reports of ch dren     Content ana ys s was        Major ty of ch dren to d the r mothers       The samp e s ze s sma but w
       (2015)                    feas b ty of us ng ch d     seen for assessment n      comp eted on 39 f es        (43%) and peers (33%) f rst. Three major     contr bute to a arge mu t s te
                                 assessments as data         a ch d sexua abuse         (32 fema es and 7           themes were dent f ed as nf uenc ng the      study n Ire and. Serves as an
                                 sources of nforma           un t n a ch dren’s         ma es) based on a           d sc osure process: (1) fee ng d stressed,    mportant exp oratory p ot
                                 CSA d sc osure. To          hosp ta were               cod ng framework.           (2) opportun ty to te , and (3) fears for    br ng ng forward d sc osure
                                 assess f these reports      rev ewed                   Parents were asked to       se f. Add t ona themes of be ng be eved,     themes for cons derat on
                                 prov de substant ve                                    consent to have the r       shame/se f-b ame, and peer nf uence
                                 data on d sc osures                                    ch d’s f e rev ewed for     were a so dent f ed
                                                                                        the study. V ct ms
                                                                                        assessed were 12–18
                                                                                        years of age
      Dumont, Messerschm tt,   Th s study a med to         F e reports of ch dren     220 m nor v ct ms—          D sc osure processes were more comp ex The re at onsh p w th the
       V a, Bohu, and            exp ore how the             seen for assessment n      78.2% fema e v ct ms,       when t concerned sexua abuse               perpetrator has a s gn f cant
       Rey-Sa mon (2014)         re at onsh p between        a ch d sexua abuse         41.8% aged between          comm tted by ntrafam a perpetrator:         mpact on both t m ng and
                                 the perpetrator and         un t n a ch dren’s         14 and 18 (most             60% of the v ct ms revea the facts         rec p ent of d sc osure, w th
                                 the v ct m, espec a y       hosp ta were               preva ent age range),       severa years after, and most often to       ntrafam a abuses ess ke y to
                                 whether these               rev ewed                   and 48.2% were               nd v dua s outs de the fam y (78.6% of    be d sc osed prompt y and w th n
                                 re at ons are                                          abused by a fam y           the d sc osures done at schoo ); on the    the fam y system
                                  ntrafam a or                                          member                      contrary, extrafam a d sc osures take
                                 extrafam a , mpact                                                                 p ace more spontaneous y and qu ck y:
                                 CSA d sc osure                                                                     80% of the v ct ms revea the facts a few
                                                                                                                    days after, most often to the r mother or
                                                                                                                    peers
      Easton, Sa tzman, and    Study focus was on          Us ng qua tat ve content   460 men w th CSA            Vast major ty of part c pants (94.6%) were At t me of the study, th s was the
        W s (2014)                dent f cat on of           ana ys s, researchers      h stor es comp eted an      sexua y abused by another ma e.             argest qua tat ve data set to have
                                 barr ers to CSA             conducted a secondary      anonymous, Internet-        Durat on of sexua abuse broke down         been ana yzed w th an exp c t
                                 d sc osure w th ma e        ana ys s of on ne          based survey.                nto: 30.2% ess than 6 months, 32.3% 6     focus on adu t ma e surv vors’
                                 surv vors                   survey data, the 2010      Recru ted from              months to 3 years, and 34.3% more than     percept ons of barr ers to CSA
                                                             Hea th and We -Be ng       surv vors’                  3 years. Ten years o d was average age of  d sc osure. Because the samp e
                                                             Survey, that nc uded       organ zat ons. Age          CSA onset. Ten categor es of barr ers      was m ted n terms of the ow
                                                             men w th se f-reported     range of 18–84 years.       were c ass f ed nto three doma ns: (1)     percentage of rac a m nor t es
                                                             CSA h stor es w th an      Two th rds of               soc opo t ca : mascu n ty, m ted           (9.3%), d sc osure d fferences
                                                             open-ended tem on          respondents reported        resources; (2) nterpersona : m strust of   based on race or ethn c ty were
                                                             d sc osure barr ers        c ergy-re ated abuse.       others, fear of be ng abe ed “gay,” safety not d scerned. The major ty of
                                                                                        Major ty of                 and protect on ssues, past responses;      abuse reported was by c ergy
                                                                                        respondents were            and (3) persona : nterna emot ons,         wh ch m ght present a un que set
                                                                                        Wh te                       see ng the exper ence as sexua abuse,      of barr ers to d sc osure
                                                                                                                    and sexua or entat on.
                                                                                                                                                                                        (continued)




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      Table 1. (cont nued)




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      Study                     Purpose                   Des gn                     Samp e                      F nd ngs                                    Summary

      Easton (2013)             Study purpose was to      Cross-sect ona survey      Purpos ve samp ng of        O der age and be ng abused by a fam y       Purpos ve samp ng of men from
                                  descr be ma e CSA         des gn. E g b e            487 men from three          member were both re ated to de ays n        awareness ra s ng organ zat ons
                                  d sc osure processes      part c pants were          nat ona organ zat ons       d sc osure. Most part c pants who to d      may have attracted part cu ar
                                  us ng a fe span           screened and               devoted to ra s ng          someone dur ng ch dhood d d not             part c pants who had a ready
                                  approach exam n ng        comp eted an               awareness of CSA            rece ve emot ona y support ve or            d sc osed and rece ved he p.
                                  d fferences based on      anonymous, Internet-       among men. Age              protect ve responses and the he pfu ness    Part c pants needed to have
                                  age. A so, to exp ore     based survey dur ng        range: 19–84 years.         of responses across the fe span was         access to Internet wh ch wou d
                                  re at onsh ps between     2010. Measures used:       Mean age for onset of       m xed. De ays n te ng were s gn f cant      have e m nated men n ower SES
                                  d sc osure attr butes     Genera Menta Hea th        CSA was 10.3 years          per ods of t me (over 20 years).            groups and requ red prof c ency n
                                  and men’s menta           D stress Sca e and                                     Approx mate y one ha f of the               Eng sh wh ch wou d e m nate
                                  hea th                    Genera Assessment of                                   part c pants f rst to d about the sexua     certa n cu tura groups. However,
                                                            Ind v dua Needs.                                       abuse to a spouse/partner (27%) or a        the samp ng strategy ga ned
                                                            Quest ons re ated to                                   menta hea th profess ona (20%); 42% of      access to a predom nant y h dden
                                                            CSA d sc osure and                                     part c pants reported that the r most       popu at on. Important c n ca
                                                            supports were                                          he pfu d scuss on was w th a menta          recommendat ons are made w th
                                                             nc uded                                               hea th profess ona . However, unhe pfu      an emphas s on a fe-course focus
                                                                                                                   responses caused most menta d stress.
                                                                                                                   C n ca recommendat ons nc uded
                                                                                                                   more of a fe-course perspect ve be
                                                                                                                   adopted, understand ng mpact of
                                                                                                                   unhe pfu responses and the mportance
                                                                                                                   of expand ng networks for ma e
                                                                                                                   surv vors
      McE vaney, Greene, and    Qua tat ve study asked Grounded theory               Samp e of 22 young          A theoret ca mode was deve oped that        Modest but suff c ent samp e for an
       Hogan (2012)              the centra research     method study.                 peop e; 16 g r s and 6      conceptua zes the process of CSA            exp oratory qua tat ve nqu ry.
                                 quest on: “How do       Interv ews were               boys; age range: 8–18       d sc osure as one of conta n ng the         H gh eve of trustworth ness
                                 ch dren te ?”           conducted. L ne-by-           years; 22 nterv ewed        secret: (1) the act ve w thho d ng of the   r gor. A subsamp e of random y
                                 Object ve was to         ne open and ax a              n tota between the         secret on the part of the ch d; (2) the     se ected transcr pts was
                                 deve op theory of how   cod ng was conducted          ages of 8 and 18. M xed     exper ence of a “pressure cooker effect”     ndependent y coded. Very young
                                 ch dren te of the r     on verbat m                   samp e of some              ref ect ng a conf ct between the w sh to    ch dren and young adu ts were
                                 CSA d sc osure          transcr pts                   endur ng ntrafam a          te and the w sh to keep the secret; and     not captured n th s samp e.
                                 exper ences. Parents                                  CSA, some                   (3) the conf d ng tse f wh ch often         Transferab ty of f nd ngs can on y
                                 were nterv ewed.                                      extrafam a CSA, and         occurs n the context of a trusted           be made to the age range samp ed
                                                                                       two endured both            re at onsh p. These were der ved from        n the context of Ire and
                                                                                       forms                       e even categor es that were deve oped
                                                                                                                   through open and ax a cod ng
      Schonbucher, Ma er,       To nvest gate the         Data co ect on was         Conven ence samp e of       Less than one th rd of part c pants         Two th rds of the samp e d d not
        Moh er-Kuo, Schnyder,     process of CSA            through face-to-face       26 sexua y v ct m zed        mmed ate y d sc osed CSA to another        d sc ose r ght away. Strengthen ng
        and Lando t (2012)        d sc osure w th           qua tat ve nterv ews.      ado escents. 23 g r s       person. In most cases, rec p ents of both   parent–ch d re at onsh ps may be
                                  ado escents from the      Standard zed quest ons     and 3 boys. Age range:       mmed ate and de ayed d sc osure were       one of the most mportant ways
                                  genera popu at on         and measures were          15–18 years. On ne          to peers. More than one th rd of            to ncrease d sc osure to parents.
                                  who had exper enced       adm n stered on fam y      advert sements and          part c pants had never d sc osed the        D sc osure to peers has been
                                  CSA. How many             s tuat on,                 f yers were used to         abuse to a parent. Part c pants reported    found a common trend n other
                                  d sc osed, who d d        soc odemograph c           recru t youth from          re uctance to d sc ose to parents so as
                                                                                                                                                                                      (continued)
      Table 1. (cont nued)

      Study                       Purpose                      Des gn                      Samp e                      F nd ngs                                    Summary

                                    they d sc ose to, and        data, sexua                 commun ty and               not to burden them. Ear er d sc osures       research and bears more
                                    what were the r              v ct m zat on, genera ,     counse ng serv ces          were re ated to extrafam a CSA, s ng e       exam nat on
                                    mot ves for d sc os ng       and menta hea th.                                       occurrence CSA, age of v ct m at abuse
                                                                 Sexua Assau t Modu e                                    onset, and parents who were v ng
                                                                 of the Juven e                                          together. H gher eve s of reported gu t
                                                                 V ct m zat on                                           and shame were re ated to de ayed
                                                                 Quest onna re was                                       d sc osures. Peers were v ewed by th s
                                                                 used                                                    samp e as more re ab e conf dants
      Hunter (2011)               A m of th s study was to     Narrat ve nqu ry            Purpos ve samp ng was       On y 5 out of 22 part c pants to d anyone De ayed d sc osure was common n
                                    deve op a fu er              methodo ogy. Face-to-       emp oyed. Samp e            about the r ear y sexua exper ences as       th s qua tat ve samp e. Most
                                    understand ng of CSA         face n-depth                cons sted of 22             ch dren. Fear, shame, and se f-b ame         part c pants d d not make a
                                    d sc osures                   nterv ews were             part c pants aged 25–       were the ma n nh b tors to d sc osure.       se ect ve d sc osure unt
                                                                 conducted w th              70 years; 13 women          These factors are further deta ed            adu thood. These f nd ngs support
                                                                 part c pants. Data          and 9 men. Part c pants     through subthemes. Te ng as a ch d and       A agg a’s (2004) mode of
                                                                 were ana yzed us ng         were sexua y abused         as an adu t was further expanded upon        d sc osure but a so h gh ghts the
                                                                 Rosentha and F scher–       at 15 years or under        us ng A agg a’s (2004) framework              mportance of fe stage. Modest
                                                                 Rosentha ’s (2004)          w th someone over           ver fy ng behav ora nd rect attempts to      but suff c ent samp e s ze for a
                                                                 method.                     the age of 18.              te and purposefu d sc osure as               qua tat ve nqu ry. We -des gned
                                                                                                                         categor es. Themat c ana ys s supported      study w th deta ed ana ys s for
                                                                                                                         that CSA d sc osure shou d be                transferab ty of f nd ngs
                                                                                                                         conceptua zed and v ewed as a comp ex
                                                                                                                         and fe ong process
      Schaeffer, Leventha , and   Th s study a med to: (1)     Study sought to f nd out f 191 nterv ews of CSA         Reasons the ch dren dent f ed for te ng      An nnovat ve study to try to assess
        Asnes (2011)                add d rect nqu ry            process ssues of           v ct ms aged 3–18 over       were c ass f ed nto three doma ns: (1)        f forma nvest gat ve nterv ews
                                    about the process of a       d sc osure cou d be        a 1-year per od were         d sc osure as a resu t of nterna st mu       can fac tate d sc osures of CSA.
                                    ch d’s CSA d sc osure;        dent f ed n the           used for the study.          (e.g., the ch d had n ghtmares); (2)         Data were based on a arge
                                    (2) determ ne f              context of forens c        Inc us on cr ter a           d sc osure fac tated by outs de              number of nterv ews. Deta ed
                                    ch dren w d scuss             nterv ews. Forens c        nc uded ch dren who          nf uences (e.g., the ch d was               ana ys s produced deta ed
                                    process that ed them          nterv ewers were          made a statement             quest oned); and (3) d sc osure due to       f nd ngs support ng other study
                                    to te ; and (3) descr be     asked to ncorporate        about CSA pr or to           d rect ev dence of abuse (e.g., the ch d’s   f nd ngs on CSA d sc osure
                                    factors that ch dren         quest ons about            referra , reasons for        abuse was w tnessed). The barr ers to
                                     dent fy that ed them        “te ng” nto an             te ng or wa t ng to          d sc osure dent f ed fe nto f ve groups:
                                    to te about or caused        ex st ng forens c          te , and those who           (1) threats made by the perpetrator
                                    them to de ay CSA             nterv ew protoco .        spoke Eng sh.                (e.g., the ch d was to d she or he wou d
                                    d sc osure                   Interv ew content          Part c pants were            get n troub e f she or he to d), (2) fears
                                                                 re ated to the             ch dren who were             (e.g., the ch d was afra d someth ng bad
                                                                 ch dren’s reasons for       nterv ewed at a ch d        wou d happen f she or he to d), (3) ack
                                                                 te ng or wa t ng was       sexua abuse c n c.           of opportun ty (e.g., the ch d fe t the
                                                                 extracted, transcr bed,    74% were fema e and          opportun ty to d sc ose never
                                                                 and ana yzed us ng         51% were Caucas an           presented), (4) ack of understand ng
                                                                 grounded theory                                         (e.g., the ch d fa ed to recogn ze abus ve
                                                                 method of ana ys s                                      behav or as unacceptab e), and (5)
                                                                                                                         re at onsh p w th the perpetrator (e.g.,
                                                                                                                         the ch d thought the perpetrator was a
                                                                                                                         fr end)
                                                                                                                                                                                            (continued)




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      Table 1. (cont nued)




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      Study                    Purpose                   Des gn                     Samp e                      F nd ngs                                    Summary

      A agg a (2010)           The study a med to        A qua tat ve               Purpos ve samp ng was       Themes fe nto four doma ns: (1)             The study presents a comprehens ve
                                 dent fy factors           phenomeno og ca            emp oyed. Snowba             nd v dua and deve opmenta factors,         soc a –eco og ca ana ys s to CSA
                                 mped ng or promot ng      des gn, LIM, was used      samp ng was a so used       deve opmenta factors as to whether          d sc osure h gh ght ng the
                                 CSA d sc osures.          to nterv ew adu t CSA      to recru t more ma e        they comprehended what was                  mu t faceted nf uences. Of note,
                                 Overarch ng research      surv vors about the r      surv vors. 40 adu t         happen ng, persona ty tra ts a so had       42% had d sc osed the abuse
                                 quest on: What            d sc osure exper ences     surv vors of CSA were       some bear ng on the r ab ty to te , and     dur ng ch dhood; 26% had not
                                 nd v dua ,                to prov de                  nterv ewed: 36% men        ant c pat ng not be ng be eved; (2)         d sc osed because they had
                                 nterpersona ,             retrospect ve accounts     and 64% women. Age          d sc osure nh b ted by fam y                repressed the memory, or the
                                 env ronmenta , and        of CSA d sc osure and      range of 18–65 w th a       character st cs such as r g d y f xed       abuse had occurred n preschoo
                                 contextua nf uences       mean ng-mak ng of          mean age of 40.1 years.     gender ro es w th dom nat ng fathers,       years and they had d ff cu ty w th
                                 mpede or promote          these exper ences.         Average age of abuse        chaos and aggress on, other forms of        reca . The rema nder had
                                 CSA d sc osures.          Themat c ana ys s was      onset was 5.3 years         ch d abuse, domest c v o ence,              attempted some form of
                                                           done through a soc a –     o d. 36% of the samp e      dysfunct ona commun cat on, and soc a       d sc osure n nd rect ways dur ng
                                                           eco og ca ens.             was non-Wh te.               so at on; (3) ne ghborhood and             ch dhood. A retrospect ve
                                                                                      D verse                     commun ty context, that s, ack of           approach that cou d be affected by
                                                                                      soc oeconom c                nterest from ne ghbors and teachers not    reca ssues
                                                                                      backgrounds                 pursu ng troub ng behav or; and (4)
                                                                                                                  cu tura and soc eta att tudes, med a
                                                                                                                  messages and soc eta att tudes, fee ng
                                                                                                                  unheard as k ds, gender soc a zat on for
                                                                                                                  ma es, and cu tura att tudes nf uenc ng
                                                                                                                  parent’s react ons. Purposefu d sc osure
                                                                                                                   s h gher than reported n other stud es
                                                                                                                  because of the samp ng attempts to
                                                                                                                  purposefu y ocate d sc osers
      Fontes and P ummer       Th s exam nat on of CSA   Us ng pub shed terature    Data cons sted of           Cu tura and structura factors affect ng     One of the few works that adds
        (2010)                   d sc osure exp ored       w th c n ca data, th s     pub shed terature on        CSA d sc osure are dent f ed n n-depth      know edge to cu tura y
                                 the ways cu ture          art c e conducted an       d sc osure and cu ture      deta . Recommendat ons made nc ude          contextua d sc osure
                                 affects processes of      ana ys s to prov de a      that was tr angu ated       (1) d sc osure nterv ew ng shou d be         nterv ew ng. Un que comb nat on
                                 CSA d sc osure and        cu tura y competent        w th c n ca case            ta ored to the ch d’s cu tura context,      of terature f nd ngs w th c n ca
                                 report ng, both n the     framework for CSA          mater a                     (2) quest on ng shou d a so take nto        mater a . Anecdota accounts may
                                 Un ted States and         d sc osure quest on ng                                 cons derat on age and gender factors,       prec ude transferab ty of
                                  nternat ona y                                                                   and (3) cu ture stands as an mportant       f nd ngs. Overa adds to an
                                                                                                                  factor n a cases n wh ch ch dren are         mpover shed area of CSA
                                                                                                                  cons der ng d sc os ng or be ng asked to    d sc osure nformat on
                                                                                                                  d sc ose, and not so e y n cases n wh ch
                                                                                                                  ch dren are from not ceab e m nor ty
                                                                                                                  groups. Presents a comprehens ve
                                                                                                                   nterv ew framework ntegrat ng cu tura
                                                                                                                  cons derat ons
      Ungar, Barter,           Th s study exp ored       Forms were comp eted       Exam nat on of resu ts      Youth who have been abused or w tnesses Th s study h gh ghts that d sc osure
        McConne , Tutty, and     d sc osure strateg es     by youth fo ow ng          from a nat ona samp e       to abuse emp oy f ve d sc osure              s an nteract ve ongo ng process.
        Fa rho m. (2009a)        w th a nat ona samp e     part c pat on n abuse      of 1,621 eva uat on         strateg es: us ng se f-harm ng behav ors    F nd ngs end support to stud es
                                 of youth focus ng on      prevent on                 forms where youth           to s gna the abuse to others; not ta k ng   that have dent f ed s m ar y
                                                                                                                                                                                     (continued)
      Table 1. (cont nued)

      Study                     Purpose                    Des gn                      Samp e                     F nd ngs                                      Summary

                                  (1) What are the          programm ng by the           anonymous y d sc osed      at a about the abuse to prevent                nteract ve mode s of d sc osure
                                  h dden exper ences of     Canad an Red Cross           abuse exper ences.          ntrus ve ntervent ons by others;             such as those deta ed by A agg a
                                  abuse among Canad an      (RespectED).                 Respondent’s ages: 13      seek ng he p from peers; seek ng he p         (2004) and Sta er and Ne son-
                                  youth? (2) What         A ser es of focus groups       and under (27%), 14–       from nforma adu t supports; and               Garde (2005). Th s m xed samp e
                                   mpact does               and observat ons of          15 (37%), 16–17 (25%),     seek ng he p from mandated serv ce            of youth who exper enced
                                  part c pat on n abuse     the workshops were           18 and o der (4%), and     prov ders (soc a workers and po ce).          d fferent forms of abuse and
                                  prevent on programs       used to he p                 unknown (7%)               Resu ts suggest d sc osure s an               v o ence exposure were
                                  have on youth to          contextua ze the                                         nteract ve process, w th expectat ons        part c pants—not m ted to CSA
                                  express the r abuse       f nd ngs. Eva uat on                                    regard ng consequences to d sc osure.         surv vors
                                  exper ences? (3) What     forms were ana yzed                                     Patterns of ncrementa y shar ng abuse
                                  d sc osure barr ers do    from two v o ence                                       exper ences are shaped by young
                                  youth face? (4) What      prevent on programs:                                    peop e’s nteract ons w th peers,
                                  are young peop e’s        (1) It’s not your fau t                                 educators, and careg vers. About three-
                                  d sc osure patterns?      and (2) What’s ove                                      quarters of fema es prev ous y d sc osed;
                                  and (5) Who do they       got to do w th It?                                      s gn f cant y ess ma es d sc osed
                                  te ?
      Ungar, Tutty, McConne ,   Th s study exp ored       Exp oratory des gn w th a    Purposefu samp e of        F nd ngs suggest h gh rates of h dden abuse, Innovat ve des gn of th s study
        Barter, and Fa rho m      abuse d sc osure          nonrepresentat ve            1,099 eva uat on forms      w th ess than one quarter of youth           prov des ns ght nto young
        (2009b)                   strateg es w th a         samp es. Qua tat ve          comp eted fo ow ng          report ng a d sc osure. 244 of the 1,099     peop e’s percept ons of d sc osure
                                  nat ona samp e of         ana ys s of 1,099            Red Cross RespectED         youth who d sc osed abuse on the r           exper ences. H gh eve of r gor
                                  Canad an youth who        eva uat on forms             v o ence prevent on         eva uat on forms dent f ed spec f c          w th trustworth ness of the data
                                  part c pated n v o ence   comp eted fo ow ng           programm ng                  nd v dua s they to d about the r abuse.     ana ys s ensured through use of
                                  prevent on                Red Cross RespectED          de vered between            D sc osure patterns vary w th boys,          youth focus groups, nterv ews,
                                  programm ng. One of       v o ence prevent on          2000 and 2003               youth aged 14–15, v ct ms of phys ca         and observat ona data. The study
                                  the goa s of the study    programm ng                                              abuse, and those abused by a fam y           resu ts are somewhat m ted n
                                  was to document not       de vered between                                         member be ng most ke y to d sc ose to        the th ckness of the descr pt ons t
                                  prev ous y dent f ed      2000 and 2003. Forms                                     profess ona s or the po ce. One th rd of     can offer because most of the data
                                  exper ences of abuse      of anonymous abuse                                       d sc osures were d rected toward             are survey based. Reg ona
                                  and youth att tudes       d sc osures by youth                                     profess ona s and the east, 5% percent       d fferences may not have been
                                  toward d sc osure of      part c pants of neg ect,                                 each, were d rected toward fr ends,          p cked up. Scope of the study s
                                  abuse exper ences         emot ona , phys ca ,                                     parents, and others. Part c pants were       broad and approach s creat ve
                                                            and sexua abuse.                                         most ke y to d sc ose sexua abuse to
                                                            Twenty-seven                                             parents/fam y, profess ona s, and the
                                                             nterv ews and focus                                     po ce/courts, w th fewer choos ng
                                                            groups were a so done                                    fr ends.
                                                            to understand                                         Out of a 1,099 part c pants, 225 ma es and
                                                            contextua ssues and                                      779 fema es nd cated that they had been
                                                            engage youth and                                         abused. Out of those, 43 ma es and 180
                                                            program fac tators n                                     fema es nd cated that they had d sc osed
                                                            the nterpretat on of                                     the abuse. Of those who had d sc osed,
                                                            f nd ngs. A cod ng                                       on y a port on of ma es and fema es
                                                            structure was                                            spec f ed who they had d sc osed the
                                                            deve oped for ana ys s                                   abuse to (“Wh e 1,099 eva uat ons w th
                                                            to synthes ze themes                                     d sc osure statements were ana yzed,
                                                            across data sources                                      on y 22% made ment on of peop e to
                                                                                                                                                                                          (continued)




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      Table 1. (cont nued)




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      Study                      Purpose                    Des gn                      Samp e                     F nd ngs                                      Summary

                                                                                                                    whom d sc osures occurred.”) More
                                                                                                                    fema es spec f ed who they d sc osed to
                                                                                                                    compare to ma es. The data show
                                                                                                                    percept ons among youth of negat ve
                                                                                                                    consequences fo ow ng d sc osure
      Pr ebe and Sved n (2008)   Th s study a med to        Part c pants comp eted      The samp e cons sted of Of the samp e, 1,505 g r s (65%) and 457         Th s study h gh ghted that sexua
                                    nvest gate d sc osure     65- tem quest onna re       4,339 h gh schoo          boys (23%) reported CSA. The                   abuse s arge y h dden from adu t
                                   rates and d sc osure       that nc uded quest ons      students n Sweden         d sc osure rate was 81% (g r s) and 69%        soc ety, espec a y from
                                   patterns and exam ne       about background,           (2,324 g r s and 2,015    (boys). G r s and boys d sc osed most          profess ona s and the ega system.
                                   pred ctors of              consensua sex, sexua        boys). The mean age of    often to a fr end of the r own age. Few        However, t me apsed to
                                   nond sc osure n a          abuse exper ences           the part c pants was      had d sc osed to profess ona s, and even       d sc osure was not reported.
                                   samp e of ma e and         (noncontact, contact        18.15 years. Th s study   fewer had reported to the author t es.         S nce fr ends appeared to be the
                                   fema e ado escents         or penetrat ng abuse,       used a subsamp e of       There were h gher rates of d sc osure to       ma n rec p ents of sexua abuse
                                   w th se f-reported          nc ud ng peer abuse),      1,962 part c pants who    a profess ona w th more severe abuse           d sc osures, pract ce mp cat ons
                                   exper ences of sexua       d sc osure of CSA,          reported CSA and          (contact abuse w th or w thout                 of th s cou d be to f nd ways to
                                   abuse                      own sexua abus ve           who answered              penetrat on) for g r s, but ower rates for     g ve young peop e better
                                                              behav or, sexua             d sc osure quest ons      boys The more severe the sexua abuse            nformat on and gu dance about
                                                              att tudes, and                                        was, the ess ke y both g r s and boys          how to support a sexua y abused
                                                              exper ences w th                                      had ta ked to the r mother, father, or a       peer. A qua tat ve component to
                                                              pornography and                                       s b ng. G r s were ess ke y to d sc ose f      the study wou d have prov ded a
                                                              sexua exp o tat on.                                   they had exper enced contact sexua             broader understand ng of
                                                              The quest onna re                                     abuse w th or w thout penetrat on, ess         d sc osure processes. Study
                                                               nc uded 6 mod f ed                                   frequent abuse, abuse by a fam y                m tat ons nc ude a s gn f cant
                                                               tems from the SCL-90                                 member, or f they had perce ved the r          amount of boys who d d not
                                                              and 9 of 25 tems from                                 parents as ess car ng and ess                  comp ete the quest ons regard ng
                                                              the Parenta Bond ng                                   overprotect ve and h gh y                      d sc osure on; the t m ng of
                                                              Instrument. The data                                  overprotect ve. Boys were ess ke y to          d sc osures (whether they were
                                                              for g r s and boys were                               d sc ose f a fam y member abused them,         de ayed or not) was not
                                                              ana yzed separate y                                   they were study ng a vocat ona program         measured; poss b ty of reca b as
                                                                                                                    (vs. an academ c program), ved w th            w th retrospect ve stud es based
                                                                                                                    both parents or had perce ved the r            on se f-reports; and youth
                                                                                                                    parents as ess car ng and not                  part c pants may not have
                                                                                                                    overprotect ve.                                understood a the quest ons
                                                                                                                  Ado escents who reported CSA perce ved
                                                                                                                    the r menta hea th as poorer compared
                                                                                                                    to ado escents w thout CSA.
                                                                                                                    Nond sc osers reported more
                                                                                                                    symptoms on the Menta Hea th Sca e
                                                                                                                    than those who had d sc osed
      Sorso , K a-Keat ng, and   Study focused on           Ma e surv vors of CSA       The samp e cons sted of Barr ers to d sc osure were found to be          S nce the vast major ty of men n the
        Grossman (2008)            d sc osure cha enges       were nterv ewed             16 ma e surv vors of      operant n three nterre ated doma ns:            samp e had not d sc osed n
                                   for ma e surv vors of      about the r d sc osure      ch dhood sexua            (1) persona (e.g., ack of cogn t ve             ch dhood, they may have been
                                   CSA to understand          exper ences. Ana yt c       abuse; 11 Caucas an, 2    awareness, ntent ona avo dance,                 pred sposed to dent fy ng
                                   three ssues: (1) To        techn ques nc uded          Afr can Amer can, 1       emot ona read ness, and shame); (2)             barr ers to d sc osure more
                                                                                                                                                                                          (continued)
      Table 1. (cont nued)

      Study                     Purpose                     Des gn                      Samp e                     F nd ngs                                     Summary

                                  whom and n what             grounded theory             Puerto R can, 1 part     re at ona (e.g., fears about negat ve         read y. Retrospect ve accounts
                                  contexts have they          method of ana ys s for      Nat ve Amer can, 1       repercuss ons, so at on); and (3)             are subject to reca ssues.
                                  d sc osed these             cod ng and                  Afr can Cuban; age       soc ocu tura (e.g., ack of acceptance for     Invest gators made s gn f cant
                                  exper ences? (2) What       deve opment of              range of 24–61 years; 9  men to exper ence or acknow edge              efforts to gather a d verse samp e.
                                  do they have to say         conceptua y c ustered        dent f ed themse ves    v ct m zat on).                               H gh eve of r gor was executed
                                  about the r d sc osure      matr ces. Part c pants      as heterosexua , 5 as   On y 1 of the 16 men n th s samp e              n the dependab ty of the data
                                  exper ences? and (3)        comp eted two n-            homosexua , and 2 as      d sc osed the fu extent of h s sexua         and terat ve process of the
                                  What are the r              depth, sem -structured      b sexua                   abuse exper ences wh e he was st a            nterpretat on of f nd ngs was
                                  percept ons of pos t ve      nterv ews, ast ng                                    ch d. The other men reported that they       conducted
                                  and negat ve aspects of     between 2 and 3 hr                                    had not d sc osed, a though some
                                  the r d sc osure,           each tak ng p ace                                     reported attempts to te that were
                                   nc ud ng ncent ves         approx mate y a week                                   nd rect or ncomp ete. Severa other
                                  and barr ers?               apart                                                 men d sc osed certa n exper ences or
                                                                                                                    e ements of the r abuse, but concea ed
                                                                                                                    others. By the t me of the study, many of
                                                                                                                    these men had d sc osed the r past
                                                                                                                    exper ences n a var ety of re at onsh ps,
                                                                                                                     nc ud ng those w th fam y members,
                                                                                                                    partners, therap sts, and nfrequent y
                                                                                                                    fr ends. Severa had on y m ted
                                                                                                                    d scuss ons of the r sexua abuse
      Hershkow tz, Lanes, and   The goa of the present      A eged v ct ms of sexua     Th rty a eged v ct ms of D sc osure categor es were dent f ed as      Innovat ve des gn to gather
        Lamb (2007)               study was to exam ne        abuse and the r             CSA; 18 boys and 12      fo ows: (1) de ayed 53% of the ch dren       d sc osure data from young
                                  how ch d v ct ms of         parents were                g r s. Ch d samp e was   de ayed d sc osure for between 1 week        ch dren. Focus s on extrafam a
                                  extrafam a sexua             nterv ewed. Ch dren        7- to 12-year-o ds w th  and 2 years; (2) rec p ent of d sc osure:    CSA wh ch may d ffer than
                                  abuse d sc osed the         were nterv ewed             an average age of 9.2    47% of ch dren f rst d sc osed to s b ngs    d sc osure patterns of ntrafam a
                                  abuse exper ence            us ng the NICHD             years. Twenty mothers    or fr ends, 43% f rst d sc osed to the r     CSA. Two th rds of the parents
                                                              Invest gat ve Interv ew     and 10 fathers were      parents, and 10% f rst d sc osed to          reg stered unsupport ve
                                                              Protoco by                  a so nterv ewed for a    another adu t. 57% of the ch dren            responses wh ch s h gh
                                                              exper enced youth           tota of 30 parent        spontaneous y d sc osed abuse, but 43%
                                                               nvest gators.               nterv ews. A content    d sc osed on y after they were
                                                              Informat on on              ana ys s was conducted   prompted. 50% of the ch dren reported
                                                              d sc osure processes        on ch d and parent       fee ng afra d or ashamed of the r
                                                              was obta ned n the           nterv ews               parents’ responses. Parents’ react ons:
                                                              f rst forma nterv ew,                                support ve (37%) and unsupport ve
                                                              before any po ce                                     (63%). There was a strong corre at on
                                                               nvest gat on or ch d                                between pred cted and actua parenta
                                                              we fare ntervent on                                  react ons suggest ng ch dren ant c pated
                                                                                                                   the r parents’ ke y react ons accurate y.
                                                                                                                   D sc osure processes var ed depend ng
                                                                                                                   on the ch dren’s ages (e.g., younger
                                                                                                                   ch dren d sc osed to parents), sever ty
                                                                                                                   and frequency of abuse, parents’
                                                                                                                   expected react ons, suspects’ dent t es,
                                                                                                                   and strateg es used to foster secrecy
                                                                                                                                                                                         (continued)




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      Table 1. (cont nued)




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      Study                     Purpose                     Des gn                     Samp e                      F nd ngs                                   Summary

      A agg a and K rshenbaum   The object ves of the       A qua tat ve               Purpos ve samp ng was     Four major themes emerged suggest ng          Over ha f the part c pants had not
        (2005)                    current study were to       phenomeno og ca            emp oyed to recru t 20    that CSA d sc osure can be s gn f cant y     d sc osed the abuse dur ng
                                   dent fy a broad range      des gn—LIM—was             adu t surv vors           comprom sed when certa n fam y               ch dhood. Of the nond sc os ng
                                  of factors, nc ud ng        used to e c t              between the ages of 18    cond t ons ex st: (1) r g d y f xed, gender  part c pants, s x d d not d sc ose
                                  fam y dynam cs that         d sc osure                 and 65 who were           ro es based on a patr archy-based fam y      because they had repressed or
                                  contr bute to or            exper ences;               sexua y abused by a       structure; (2) presence of fam y             forgotten the memory. A most
                                  h nder a ch d’s ab ty       fac tators and             fam y member.             v o ence; (3) c osed, nd rect fam y          one th rd w thhe d d sc osure
                                  to d sc ose CSA.            barr ers; and re evant     Average age of            commun cat on patterns; and (4) soc a         ntent ona y. More data are
                                                              c rcumstances.             part c pants was 40.1      so at on of the fam y as a who e, or        needed on ear y d sc osures to
                                                              Interv ews were            years; 60% of             spec f c members, p ayed a part n CSA        garner more nformat on on
                                                              transcr bed verbat m.      part c pants were         v ct ms fee ng they had no one safe to       fac tators of d sc osure.
                                                              L ne-by- ne open           fema e and 40% ma e.      te . Fam y systems formu at ons through      Retrospect ve approach mp es
                                                              cod ng was conducted       Average age of onset      a fem n st ens are mportant n                reca ssues. H gh eve of
                                                              to capture fam y- eve      of abuse was 6.7 years.   understand ng ch dren and fam es at          trustworth ness of the data and
                                                              factors. Ax a and          M xed c n ca and          r sk of d sc osure barr ers                   nterpretat ons were ach eved
                                                              se ect ve cod ng           nonc n ca samp e. The                                                  through cred b ty, dependab ty,
                                                              fac tated                  major ty had rece ved                                                  and conf rmab ty through d rect
                                                               dent f cat on of          treatment for CSA at                                                   quotes
                                                              themes                     some po nt n the r
                                                                                          ves
      A agg a (2005)            The study purpose was       Surv vors of CSA were      Purpos ve samp ng of      Three themes emerged for men that             One n a dearth of stud es that
                                  to qua tat ve y exp ore      nterv ewed about          women and men, a ong       nh b ted or prec p tated d sc osure for     conduct gender ana ys s.
                                  dynam cs that mpede         the r d sc osure           w th those who            reasons re ated to gender: (1) fear of       Comparat ve ana ys s draws out
                                  or promote d sc osure       exper ences us ng LIM.     d sc osed dur ng the      be ng v ewed as homosexua ; (2)               mportant pract ce mp cat ons.
                                  by exam n ng a range of     Ana ys s of 30             abuse and those who       profound fee ngs of st gmat zat on or        Retrospect ve des gn of the study
                                  factors nc ud ng            part c pant narrat ves     d d not. 19 fema es and    so at on because of the be ef that boys     wh ch mp es poss b e reca
                                  gender as a dynam c—        was used for theme         11 ma es; 18–65 (mean     are rare y v ct m zed; and (3) fear of        ssues. H gh eve of
                                  how d sc osures of          deve opment regard ng      40.1) years who were      becom ng an abuser, wh ch acted as a         trustworth ness of the data and
                                  fema es and ma es are        mpact of gender on        sexua y abused by a       prec p tant for d sc osure. Two               nterpretat ons were ach eved
                                  s m ar and d fferent,       d sc osure. Interv ews     fam y member or a         predom nant themes w th fema e               through cred b ty, dependab ty,
                                  and n what ways             were transcr bed           trusted adu t. Average    part c pants re ated to d ff cu t es         and conf rmab ty through d rect
                                  gender affects CSA          verbat m for open,         age of abuse onset was    d sc os ng: (1) they fe t more conf cted     quotes
                                  d sc osure                  ax a , and se ect ve       5.3 years, 36% were       about who was respons b e for the abuse
                                                              cod ng. Categor es and     nonwh te, and 58% had     and (2) they more strong y ant c pated
                                                              subcategor es were         not d sc osed dur ng      be ng b amed and/or not be eved
                                                              co apsed and ref n ng      ch dhood
                                                               nto theme areas
      Co ngs, Gr ff ths, and    Study exam ned patterns     F e rev ews of a soc a     1,737 cases of CSA          Content ana ys s dent f ed two broad       These resu ts f t nto A agg a’s (2004)
        Kuma o (2005).            of d sc osure n a arge      work and med ca case        reported n the North       d mens ons of d sc osure: (1) agency:      d sc osure framework. Through
                                  representat ve samp e       f es for CSA v ct ms        Durban area of             ch d- n t ated d sc osure versus           data ana ys s two raters coded
                                  of South Afr can CSA        seen at the cr s s          KwaZu u-Nata , South       detect on by a th rd party and (2)         d sc osure categor es us ng
                                  v ct ms. Two study          center where a cases        Afr ca, dur ng January     tempora durat on: an event versus a        author’s d sc osure framework,
                                  object ves to: (1)          of CSA reported to          2001 to December           process. These d sc osure d mens ons       wh ch proved to be both
                                  exam ne how and             the North Durban            2003. 1,614 g r s and      def ned four d screte categor es of        exhaust ve and mutua y exc us ve
                                                                                                                                                                                         (continued)
      Table 1. (cont nued)

      Study                       Purpose                        Des gn                      Samp e                     F nd ngs                                      Summary

                                    when CSA v ct ms               po c ng area were           123 boys; average age   d sc osure: (1) purposefu d sc osure            w th the percentage of nterrater
                                    d sc ose the r abuse           referred dur ng the         of v ct m zed ch dren   (30% of cases), (2) nd rect d sc osure          agreement at 98%.
                                    and (2) Ident fy factors       per od of January 2001      was 9.9 years. 47%      (9% of cases), (3) eyew tness detect on         Genera zab ty of th s study s
                                    assoc ated w th                to December 2003            reports were made       (18% of cases), and (4) acc denta                 m ted to ch d c ents rece v ng a
                                    d fferent patterns of                                      w th n 72 hr of the     detect on (43% of cases). D sc osure            cr s s assessment referred
                                    d sc osure                                                 abuse, 31% from 72 hr    ndependent y pred cted by v ct m’s age,        through a po ce report
                                                                                               to 1 month, and 22%     nature of the v ct m–perpetrator
                                                                                               more than a month       re at onsh p, offender’s age, frequency of
                                                                                               after the abuse         abuse, and report ng atency. Mean age of
                                                                                                                       purposefu d sc osures (10.67) was
                                                                                                                       h gher than the mean age of nd rect
                                                                                                                       d sc osures (5.84). Exp c t forms of
                                                                                                                       d sc osure were ess ke y when the
                                                                                                                       offender was a fam y member. Shorter
                                                                                                                       report ng atency was more ke y w th
                                                                                                                       repeated abuse
      Hershkow tz, Horow tz,      Th s study a med to            Large database of           The samp e was           Overa , 65% of the 26,446 ch dren made Overa f nd ngs nd cated that rates
        and Lamb (2005).             dent fy character st cs       suspected cases of          compr sed of 26,446 of  a egat ons when nterv ewed. Rates of            of d sc osure var ed systemat ca y
                                    of suspected ch d              phys ca and sexua           3- to 14-year-o d       d sc osure were greater for sexua abuse         depend ng on the nature of the
                                    abuse v ct ms that are         abuse nvest gated n         a eged v ct ms of       (71%) over phys ca abuse (61%).                 a eged offences, the re at onsh p
                                    assoc ated w th                Israe between 1998          sexua and phys ca       Ch dren of a ages were ess ke y to              between a eged v ct ms and
                                    d sc osure and                 and 2002 was ana yzed.      abuse nterv ewed n      d sc ose/a ege abuse when a parent was          suspected perpetrators, and the
                                    nond sc osure dur ng           Interv ews were a so        Israe n the 5-year      the suspected perpetrator. D sc osure           age of the suspected v ct ms.
                                    forma nvest gat ons            conducted us ng             per od from 1998 to     rates ncreased as ch dren grew o der:           Ana yses on y nvo ved cases that
                                                                   standard zed NICHD          2002. 140 exper enced   50% w th 3- to 6-year-o ds, 67% of the 7-       had come to the attent on of
                                                                   Invest gat ve Interv ew     tra ned youth           to 10-year-o ds, and 74% of the 11- to          off c a agenc es, mak ng t d ff cu t
                                                                   Protoco . Arch va data       nvest gators           14-year-o ds d sc osed abuse when               to determ ne how many of abuse
                                                                   were ana yzed               conducted nterv ews     quest oned                                      take p ace w thout ever tr gger ng
                                                                                                                                                                       any k nd of off c a nvest gat on
      Jensen, Gu brandsen,        Th s study nvest gated         Qua tat ve approach to      20 fam es w th a tota of None of the ch dren to d of abuse              Ev dence for de ayed d sc osures.
         Moss ge, Re che t, and     the context n wh ch           data co ect on and           22 ch dren               mmed ate y after t occurred. Ch dren           The resu ts nd cate that
         Tjers and (2005)           ch dren were ab e to          ana ys s was used.           part c pated. A         exposed to repet t ve abuse kept th s as a      d sc osure s a fundamenta y
                                    report the r ch d             Therapeut c nterv ews        ch dren had to d about  secret for up to severa years; 17 to d          d a og ca process that becomes
                                    sexua abuse                   o the ch dren and            exper ences that        the r mothers f rst, 3 f rst to d a fr end, 1    ess d ff cu t f ch dren perce ve
                                    exper ences; the r            most y the r mothers         created concerns for    to d the r father, and 1 the r unc e.           that there s an opportun ty to
                                    v ews as to what made         were ana yzed through        care-g vers about CSA.  Major ty of remarks that ed to the              ta k, a purpose for speak ng and a
                                     t d ff cu t to ta k about    a qua tat ve approach.       Ch dren’s ages ranged   susp c on of CSA were made n                    connect on has been estab shed
                                    abuse; what he ped            Fo ow-up nterv ews           between 3 and 16        s tuat ons where someone engaged the            to what they are ta k ng about.
                                    them n the d sc os ng         were he d 1 year ater        years (average age 7.5  ch d n a d a ogue about what was                Strengthen ng parent–ch d
                                    process; and the r                                         years); 15 g r s and 7  bother ng them, resu t ng n a referra .         re at onsh ps s an mportant
                                    parent’s percept ons of                                    boys. Sexua y abused    The ch dren fe t t was d ff cu t to f nd        pract ce mp cat on
                                    the r d sc osure                                           by someone n the        s tuat ons conta n ng enough pr vacy and
                                    processes                                                  fam y or a c ose        prompts that they cou d share the r
                                                                                               person to the fam y     exper ences. When the ch dren d d
                                                                                                                                                                                                (continued)




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      Table 1. (cont nued)




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      Study                  Purpose                     Des gn                     Samp e                    F nd ngs                                      Summary

                                                                                                                 d sc ose they d d t n s tuat ons where
                                                                                                                 the top c of ch d sexua abuse was n
                                                                                                                 some form addressed or act vated,
                                                                                                                 where someone recogn zed the ch d’s
                                                                                                                 cues and probed further. They a so were
                                                                                                                 sens t ve to others react ons, and
                                                                                                                 whether the r d sc osures wou d be
                                                                                                                 m s nterpreted. Severa of the ch dren
                                                                                                                 perce ved negat ve consequences as
                                                                                                                 major factors contr but ng to de ay ng
                                                                                                                 d sc osure. They were pr mar y
                                                                                                                 concerned about negat ve effects for the
                                                                                                                 mother. The mothers sa d they were
                                                                                                                 a so sens t ve to the ch dren’s fee ngs. If
                                                                                                                 the r ch dren showed s gns of d stress
                                                                                                                 and d d not want to ta k, the mothers
                                                                                                                 wou d change the subject or not pursue
                                                                                                                 the top c further
      Sta er and Ne son-     The purpose of th s study   Secondary ana ys s of     Samp e cons sted of 34     F nd ngs are reported n three major            Th s study prov ded a contextua
        Garde (2005)           was to understand the       qua tat ve focus group    part c pants from four      doma ns: (1) se f-phase: where ch dren        exam nat on of the ent re
                               fu process of CSA           data. Or g na project     groups. Sess ons            come to understand v ct m zat on              d sc osure process, c oser to the
                               d sc osure and how          cons sted of four focus   ana yzed were                nterna y; (2) conf dant se ect on-           po nt n t me when the abuse and
                               th s unfo ded for           groups conducted          between 60 and 90 m n       react on phase: where they se ect a t me,     d sc osure occurred. Sma groups
                               preado escent and           w th n the context of      ong; aud otaped and        p ace, and person to te and then              of preado escent and ado escent
                               ado escent g r s.           ongo ng therapy for        ater transcr bed for       whether that person’s react on was            g r s who had surv ved sexua
                               Exam ned what               g r s who had             content ana ys s            support ve or host e; and (3)                 abuse a so served as consu tants
                               fac tated and               exper enced CSA.                                      consequences phase: good and bad that         and were encouraged to share
                               h ndered d sc osure         Secondary ana ys s                                    cont nued to nform the r ongo ng              the r know edge for the benef t of
                               and subsequent              cons sted of wr tten                                  strateg es of te ng. The act ons and          profess ona pract t oners
                               consequences                narrat ve summar es of                                react ons of adu ts were s gn f cant and
                                                           each sess on group ng                                  nformed the g r s’ dec s ons. The
                                                           these conceptua y,                                    consequences phase was further
                                                           and exam n ng the r                                   subd v ded nto four aspects: (1)
                                                            nterconnectedness                                    goss p ng and news networks, (2)
                                                                                                                 chang ng re at onsh ps, (3) nst tut ona
                                                                                                                 responses and the after fe of te ng, and
                                                                                                                 (4) ns der and outs der commun t es
      A agg a (2004)         The study sought to         The study emp oyed         Us ng purpos ve samp ng   Through ana ys s of the nterv ew new           Th s study expanded types of CSA
                               exam ne nf uences           LIM—a                      24 adu t surv vors of      categor es of d sc osure were dent f ed       d sc osures to more fu y
                               that nh b t or promote      phenomeno og ca             ntrafam a abuse           to add to ex st ng types. Three               understand how ch dren and
                               ch dren’s d sc osure of     des gn. Intens ve          between ages of 18         prev ous y dent f ed were conf rmed n         adu ts d sc ose. And under what
                               CSA to address gaps n        nterv ew ng that were     and 65 (average age        these data: acc denta , purposefu , and       c rcumstances. Ask ng peop e to
                               know edge about how,        2 hr ong on average        41.2) were recru ted       prompted/e c ted accounted for 42% of         recount events that occurred n
                               when, and under what        generated data for a       from agenc es and one      d sc osure patterns n the study samp e.       ch dhood s suscept b e to
                               c rcumstances v ct ms       themat c ana ys s. The     un vers ty; 57% ma e    Over ha f the d sc osure patterns descr bed      memory fa ure, espec a y when
                               of CSA d sc ose              nterv ew gu de was        and 43% fema e;            by the study samp e d d not f t these         memor es were forgotten,
                                                                                                                                                                                      (continued)
      Table 1. (cont nued)

      Study                       Purpose                   Des gn                      Samp e                      F nd ngs                                      Summary

                                                              deve oped to probe          average age of abuse        prev ous y estab shed categor es. Three       de ayed, or repressed and ater
                                                              for nd v dua ,              onset was 6.5 years;        add t ona d sc osure categor es               recovered. D stort on and
                                                               nterpersona ,              42% of the part c pants     emerged: behav ora and nd rect verba          rev s on of events are a so
                                                              env ronmenta , and          had d sc osed the           attempts, d sc osures ntent ona y             potent a prob ems n reca . H gh
                                                              cu tura factors             abuse dur ng                w thhe d, and d sc osures tr ggered by        degree of trustworth ness of the
                                                               nf uenc ng CSA             ch dhood; 58%               recovered memor es                            data was ach eved and quotes
                                                              d sc osure                  d sc osed as adu ts                                                       prov ded supported the
                                                                                                                                                                    categor es
      Cr sma, Basce , Pac , and   The ma n goa s of th s    In-depth te ephone          The samp e was              The ma n mped ments to d sc ose to a          Th s study represented the f nd ngs
        Rom to (2004)               study were to              (anonymous)                compr sed of 36 young       fam y member were: fear of not be ng          of a m xed samp e of surv vors of
                                    understand                  nterv ews were            peop e who                  be eved, shame, and fear of caus ng           ch d sexua abuse and nt mate
                                     mped ments that           conducted after            exper enced sexua           troub e to the fam y. The ma n                partner v o ence. The study was
                                    prevent ado escents         nformed consent was       abuse n ado escence;         mped ments for not seek ng serv ces          conducted n Ita y and t s not
                                    from d sc os ng CSA        exp a ned and              35 fema es and 1 ma e;      were: unaware of appropr ate serv ces,        c ear what sexua abuse response
                                    and seek ng he p from      obta ned. Three            aged 12–17. Some of         w sh to keep the secret, ack of               tra n ng s ava ab e. There may
                                    the r soc a network         nvest gators              the samp e                  awareness of be ng abused, m strust of        have been a se ect on b as as the
                                    and/or the serv ces        exper enced n              exper enced sexua           adu ts and profess ona s, and fear of the     most d ssat sf ed surv vors
                                                               counse ng CSA              v o ence n a dat ng         consequences of d sc os ng sexua abuse.       responded to the research ca
                                                               counse ng conducted        re at onsh p                When they d d d sc ose to profess ona s,
                                                               the nterv ews wh ch                                    teens rece ved very m ted support as
                                                               were recorded w th                                     many profess ona s were not tra ned on
                                                               perm ss on. Three                                      sexua abuse and cou d not offer
                                                               researchers                                            appropr ate ntervent ons to v ct ms
                                                                ndependent y scored
                                                               the nterv ews
                                                               accord ng to a cod ng
                                                               framework
      Jonzon and L ndb ad         Study purpose was to      Adu t women report ng       122 adu t women             Abuse character st cs: abuse by mu t p e      68% de ayed d sc osure unt
        (2004)                      exp ore how abuse          CSA by someone c ose       between 20 and 60           perpetrators was more common than by          adu thood. At the t me of the
                                    tra ts, openness,          were nterv ewed            years o d (average age      a s ng e perpetrator. Age of onset was        study, t was one of the f rst
                                    react ons to CSA           us ng sem -structured      of 41 years) report ng      often before age of 7, w th an average        stud es to focus on the nterp ay
                                    d sc osure, and soc a      gu des together w th       exposure to ch d            durat on of 7 years. Severe y abused          between soc a support networks
                                    support were re ated.      quest onna res. Data       sexua abuse by              women had ta ked to more of the r             and d sc osure of ch d sexua
                                    D fferences based on       on v ct m zat on and       someone c ose before        soc a network, espec a y to                   abuse. The study resu ts are
                                    sever ty of abuse,         current soc a support      the age of 18 and had       profess ona s. D sc osures: 32%               somewhat m ted by an
                                    t m ng and outcomes        were retr eved             to d someone about at       d sc osed dur ng ch dhood (before the         overrepresentat on of severe y
                                    of d sc osure, soc a       through the                 east one abuse event.      age of 18) w th an average of 21 years        abused women. Retrospect ve
                                    support, and               quest onna res, and        90% were Swed sh            de ay. Women who had d sc osed n              study and se f-report of
                                    pred ct ng factors of      data on d sc osure and     subjects. Purpos ve         ch dhood reported more nstances of             nformat on cou d mp y reca
                                    pos t ve and negat ve      react ons were             samp ng strategy was        phys ca abuse, mu t p e perpetrators,          ssues and thus m ts the accuracy
                                    react ons were probed      gathered through the       used                        use of v o ence, and were more ke y to        of the nformat on obta ned on
                                                                nterv ews w th                                        have confronted a perpetrator, and had        abuse and d sc osure
                                                               part c pants                                           rece ved a negat ve f rst react on. Factors   character st cs. Cross-sect ona
                                                                                                                                                                                           (continued)




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      Table 1. (cont nued)




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      Study                  Purpose                      Des gn                      Samp e                       F nd ngs                                   Summary

                                                                                                                     s gn f cant y pred ct ng de ay were        des gn does not a ow for def n te
                                                                                                                     younger age at f rst event and no use of   conc us ons of cause and effect on
                                                                                                                     v o ence. D sc osure outcomes: of the 26   the re at onsh ps found
                                                                                                                     women who to d n ch dhood dur ng a
                                                                                                                     per od w th ongo ng abuse, 15 women
                                                                                                                     were cont nuous y abused after
                                                                                                                     d sc osure
      Kogan (2004)           The purpose of th s study    Data were gathered from     A subsamp e of 263           Ch dren under the age of 7 were at a       Th s study exam ned factors
                               was to dent fy factors       a subsamp e of fema e       ado escent fema es           h gher r sk for de ayed d sc osures.        nc ud ng d sc osures of USEs n
                               that nf uence the            ado escents that            between 12 and 17            Part c pants whose USE occurred            ch dhood and ado escence n a
                               d sc osures made by          part c pated n the          years o d, mean age of       between the ages of 7 and 13 were most     nat ona y representat ve samp e
                               fema e surv vors of          NSA, wh ch cons sted        15.2 years o d, who           ke y to te an adu t. Ado escents (14–     of fema e ado escents who
                               USE n ch dhood and           of structured phone         reported at east one         17) were more ke y to te on y peers        part c pated n the NSA. Surveys
                               ado escence. The              nterv ews. USEs            exper ence of                than ch dren aged 7–10 years. Ch dren      for nvest gat ons of v ct m zat on
                               pred ctors of both the       reported n the NSA          unwanted sexua               under 11 were more ke y to te an           exper ences may be b ased due to
                               t m ng of d sc osure         were assessed us ng a       contact n the NSA.           adu t, but were at r sk for de ay ng       underreport ng. Ado escents who
                               and the rec p ent of the     mod f ed vers on of the   Part c pant                    d sc osure beyond a month. Ch dren         refused to report or d scuss an
                               d sc osure were              Inc dent C ass f cat on     character st cs, USE         aged 11–13 tended to d sc ose w th n a     USE may represent a source of
                                nvest gated                 Interv ew. They were        character st cs, and         month. C oser re at onsh p to the          systemat c b as and wou d make
                                                            then asked a ser es of      fam y contextua              perpetrator or a fam y member was          the resu ts genera zab e on y to
                                                            quest ons about each        attr butes were              assoc ated w th de ayed d sc osure.        ado escents who are w ng to
                                                            ep sode of unwanted         exp ored                     Immed ate d sc osure was more ke y         d sc ose USE v a survey. A though
                                                            sexua contact                                            w th stranger perpetrat on. Fear for       data may be retrospect ve, reca
                                                             nc ud ng event                                          one’s fe dur ng and penetrat on were       b as may have been m n m zed n
                                                            character st cs and                                      assoc ated w th d sc osure to adu ts.      th s study s nce part c pants were
                                                            perpetrator                                              Fam y factors nked to d sc osure were      ado escents, and so the t me ag
                                                            character st cs                                          (1) drug abus ng househo d member,         between the USE and the
                                                                                                                     wh ch made surv vors more ke y to           nterv ew were presumab y
                                                                                                                     d sc ose more prompt y and (2) never       shorter than a study of adu t
                                                                                                                      v ng w th both parents was assoc ated     part c pants reca ng CSA
                                                                                                                     w th nond sc osure                         exper ences
      Goodman-Brown,         The purpose of th s study    Case f e rev ews of data    Samp e cons sted of 218      64% d sc osed w th n a month and 29%       Th s study represents a h gher rate
       Ede ste n, Goodman,     was to nvest gate            obta ned from               ch dren referred to          w th n 6 months. F ve var ab es for the    of d sc osers w th n a month.
       Jones, and Gordon       var ab es assoc ated         prosecut on f es, as        prosecutors’ off ces         mode were tested. (1) age: ch dren who     These cases had been reported to
       (2003)                  w th de ay of                we as from                  for a eged CSA. A            were o der took onger to d sc ose and      author t es and were n process of
                               d sc osure of CSA and        structured nterv ews        ch dren n the samp e         o der ch dren feared more negat ve         prosecut on wh ch may exp a n
                               test a mode for              w th the ch dren’s          had d sc osed the r          consequences to others than younger        h gher rate of ear y d sc osures.
                               factors that nf uence        caretaker and               abuse n some manner.         ch dren; (2) type of abuse: v ct ms of     Lega samp e w th h gher rate of
                               how qu ck y ch dren          observat ons of ch d        Ch dren ranged n age          ntrafam a fam es took onger to            extrafam a abuse (52%) may a so
                               d sc ose sexua abuse          nterv ews. Tra ned         from 2 to 16 years at        d sc ose—v ct ms of ntrafam a abuse        account for ear er d sc osures.
                                                            graduate students and       the beg nn ng of abuse;      feared greater negat ve consequences to    Mode suggests that o der
                                                            one v ct m advocate         3–16 years at the end        others compared to v ct ms of              ch dren, v ct ms of ntrafam a
                                                            comp eted the Sexua         of the abuse, and 4–16       extrafam a abuse; (3) fear of negat ve     abuse; fe t greater respons b ty
                                                            Assau t Prof e              years at the t me of the     consequences: ch dren who feared           for the abuse, and perce v ng
                                                                                                                                                                                       (continued)
      Table 1. (cont nued)

      Study                       Purpose                     Des gn                       Samp e                      F nd ngs                                      Summary

                                                                 quest onna re for ch d       n t a po ce report;    negat ve consequences of d sc osure          negat ve consequences to
                                                                 character st cs, the        77% fema e, 70%         took onger to d sc ose, ch dren who          d sc os ng took onger to d sc ose.
                                                                 abuse and the r             Caucas an, 17%          be eved that the r d sc osure wou d          We -des gned study w th h gh
                                                                 d sc osure. Ch dren’s       H span c, and 11%       br ng harm to others took onger to            eve of r gor. Produced a v ab e
                                                                 percept on of               Afr can Amer can.       d sc ose, fear of negat ve consequences      mode of d sc osure for further
                                                                 respons b ty and fear       Predom nant y m dd e    to the se f or the perpetrator was            nvest gat ons. However,
                                                                 of negat ve                 to ow SES.              unre ated to t me of d sc osure, and g r s   researchers were not ab e to
                                                                 consequences were         Approx mate y 47%         more than boys feared negat ve                nterv ew ch dren d rect y
                                                                 probed.                      ntrafam a abuse        consequences to others; (4) Perce ved
                                                              Corre at ona ana yses                                  respons b ty: ch dren who fe t greater
                                                                 were conducted w th                                 respons b ty for the abuse took onger
                                                                 path ana yses to test                               to d sc ose and o der ch dren fe t more
                                                                 the hypothes zed                                    respons b ty for the abuse; and (5)
                                                                 causa re at ons among                               gender was not s gn f cant y corre ated
                                                                 var ab es                                           w th t me to d sc osure
      Sm th, Letourneau,          The study focus was to      Structured te ephone         Two probab ty samp es. 288 (9%) reported exper enc ng at east        The t me frame of th s survey may
        Saunders, K patr ck,        gather data from a            nterv ews that asted       Wave 1 was a random     one event that met the study’s def n t on    have had contextua mp cat ons.
        Resn ck, and Best            arge samp e of women        approx mate y 35 m n        samp e of 2,009         of ch dhood rape. The average age at the     The major ty of ch d rapes
        (2000)                      about the ength of           were used to co ect         respondents se ected    t me of the f rst rape was 10.9 years. Of    reported by th s samp e occurred
                                    t me women who               data us ng a computer-      from strat f ed samp es the 288 women who reported a ch d            pr or to the arge-sca e ch d
                                    were raped before age        ass sted te ephone          of def ned              rape, 28% stated that they had never to d    assau t prevent on educat on
                                    18 de ayed d sc osure         nterv ew system. A         jur sd ct ons.          anyone about th s sexua assau t unt          programs that were begun n the
                                    who they d sc osed to,       te ephone nterv ews       Random d g ta d a ng      spec f ca y quer ed by the nterv ewer        1980s that teach ch dren that
                                    and var ab es that           were conducted w th          was used to so c t     for th s study. 58% d d not d sc ose for     assau ts ( nc ud ng CSA) are
                                    pred cted d sc osure         each quest on on a           househo ds for sted    over 1 year and up to 5 years post-rape.     wrong and shou d be d sc osed to
                                    w th n 1 month               computer screen. The         and un sted te ephone  27% d sc osed w th n a month. Among          respons b e adu ts. Th s
                                                                 survey cons sted of          numbers. Second        women who d sc osed pr or to the r            nformat on may have nf uenced
                                                                 severa measures              random samp e of       NWS nterv ew c ose fr ends were the          (and may current y be nf uenc ng)
                                                                 des gned to e c t            2,000 women between    most common person to whom v ct ms           young women’s d sc osure
                                                                 demograph c                  the ages of 18 and 34  made d sc osures, fo owed by mothers         patterns. For Wave 1, compar son
                                                                  nformat on,                 was se ected. Both     and other mmed ate fam y members.            of these data w th the popu at on
                                                                 psych atr c symptoms,        Wave 1 and Wave 2      Fewer than 10% of v ct ms reported           parameters obta ned from the
                                                                 substance use, and           data were we ghted to  mak ng the r n t a d sc osure to soc a       U.S. Census Bureau nd cated that
                                                                 v ct m zat on h story.       conform to the 1989    workers or aw enforcement personne .         the samp e c ose y matched the
                                                                 The present study            Census stat st cs      On y 12% of ch d rape v ct ms stated         demograph c attr butes of the
                                                                 reports on data from                                that the r assau ts were reported to         popu at on of U.S. women
                                                                 the demograph c and                                 author t es at some po nt
                                                                 ch d rape v ct m zat on
                                                                 quest ons
      Note. SCL-90 ¼ Symptom Check List-90; SES ¼ socioeconomic status; L M ¼ ong interview method; CSA ¼ chi d sexua abuse; N CHD ¼ Nationa nstitute of Chi d Hea th and Human Deve opment; USE ¼ unwanted
      sexua experiences; NSA ¼ Nationa Survey of Ado escents; NWS ¼ Nationa Women’s Study; Q DS ¼ Questionnaire informattsé sur es dé inquants sexeu s.




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examples of this usage were found in the research questions,            being facilitated within a dialogical and relational context is
interview guides, and surveys examined: “How and when do                being more clearly delineated.
people decide to tell others about their early sexual experiences       Theme 2: Contemporary disclosure models reflect a
with adults?” (Hunter, 2011, p. 161); “Some men take many               social–ecological, person-in-environment perspective to
years to tell someone that they were sexually abused. Please            understand the complex interplay of individual, familial,
describe why it may be difficult for men to tell about/discuss          contextual, and cultural factors involved in CSA disclosure.
the sexual abuse” (Easton, Saltzman, & Willis, 2014, p. 462).           Subthemes include new categories of disclosure and a grow-
“Participants were asked a series of open-ended questions to            ing focus on previously missing cultural and contextual
elicit a narrative regarding their experiences of telling . . . ”       factors.
(McElvaney, Greene, & Hogan, 2012, p. 1160). “Who was the               Theme 3: Age and gender are strong predictors for delaying
first person you told?” (Schaeffer, Leventhal, & Anes, 2011, p.         disclosure or withholding disclosure with trends showing
346).                                                                   fewer disclosures by younger children and boys. One sub-
    There was sound consistency between studies, defining dis-          theme emerged that intrafamilial abuse/family-like relation-
closure in multifaceted ways with uniform use of categories of          ship of perpetrator has a bearing on disclosure delays or
prompted, purposeful, withheld, accidental, direct, and indi-           withholding.
rect. However, defining the period of time that would delineate         Theme 4: There is a lack of a cohesive life-course perspec-
a disclosure as delayed varied widely across studies, wherein           tive. One subtheme includes the lack of data within the 18-
some studies viewed 1 week or 1 month as a delayed disclosure           to 24-year-old emerging adult population.
(i.e., Hershkowitz et al., 2007; Kogan, 2004; Schönbucher,             Theme 5: Significantly more information is available on
Maier, Moher-Kuo, Schnyder, & Lamdolt, 2012). Other studies             barriers than on facilitators of CSA disclosure. Subthemes
simply reported average years of delay sometimes as long as             of shame, self-blame, and fear are uniformly identified as
from 20 to 46 years (Easton, 2013; Jonzon & Linblad, 2004;              disclosure deterrents.
Smith et al., 2000).
    Second, the number of qualitative studies has increased sig-
nificantly over the last 15 years. This rise is in response to a     Disclosure as an ongoing process: Iterative and interactive in nature.
previous dearth of qualitative studies. Based on Jones’s (2000)      Disclosure is now generally accepted as a complex and lifelong
observation that disclosure factors and outcomes had been well       process, with current trends showing that CSA disclosures are
documented through quantitative methods; in a widely read            too often delayed until adulthood (Collin-Vézina et al., 2015;
editorial, he recommended “Qualitative studies which are able        Easton, 2013; Hunter, 2011). Knowledge building about CSA
to track the individual experiences of children and their percep-    disclosure has moved in the direction of understanding this as
tion of the influences upon them which led to their disclosure of    an iterative and interactive process rather than a discrete, one-
information are needed to complement . . . ” (p. 270).               time event. Since the new millennium, disclosure is being
    Third, although a few studies strived to obtain representative   viewed as a dynamic, rather than static, process and described
samples in quantitative investigations (Hershkowitz, Horowitz,       “not as a single event but rather a carefully measured process”
& Lamb, 2005; Kogan, 2004; Smith et al., 2000), sampling was         (Alaggia, 2005, p. 455). The catalyst for this view originates
for the most part convenience based, relying on voluntary par-       from Summit (1983) who initially conceptualized CSA disclo-
ticipation in surveys and consent-based participation in file        sures as process based, although this notion was not fully
reviews (Collings, Griffiths, & Kumalo, 2005; Priebe & Sve-          explored until several years later. Examinations of Summit’s
din, 2008; Schönbucher et al., 2012; Ungar, Barter, McConnell,      (1983) groundbreaking proposition of the CSA accommodation
Tutty, & Fairholm, 2009a). Therefore, generalizability of find-      (CSAA) model produced varying results as to whether his five
ings is understandably limited. The qualitative studies used         stages of secrecy, helplessness, entrapment and accommoda-
purposive sampling as is deemed appropriate for transferability      tion, delayed, conflicted, and unconvincing disclosures, and
of findings to similar populations. Some of those samples con-       retraction or recantation, hold validity (for a review, see Lon-
tained unique characteristics, since they were sought through        don, Bruck, Ceci, & Shuman, 2005). However, the idea of
counseling centers or sexual advocacy groups. These would be         disclosure as a process has been carried over into contemporary
considered clinical samples producing results based on disclo-       thinking.
sures that may have been delayed or problematic. This might             Recently, McElvaney, Greene, and Hogan (2012) detailed a
presumably produce data skewed toward barriers and bring             process model of disclosure wherein they describe an interac-
forward less information on disclosure facilitators.                 tion of internal factors with external motivators which they
    Through an in-depth, second-level analysis, this review          liken to a “pressure cooker” effect, preceded by a period of
identified five distinct themes and subthemes beyond the gen-        containment of the secret. Moreover, this and other studies
eral trends as noted earlier.                                        strongly suggest disclosures are more likely to occur within a
                                                                     dialogical context—activated by discussions of abuse or pre-
   Theme 1: Disclosure is viewed as an ongoing process as            vention forums providing information about sexual abuse
   opposed to a discrete event—iterative and interactive in          (Hershkowitz et al., 2005; Jensen, Gulbrandsen, Mossige,
   nature. A subtheme was identified regarding disclosure as         Reichelt, & Tjersland, 2005; Ungar et al., 2009a). The term
Alaggia et al.                                                                                                                     277


dialogical simply means to participate in dialogue. Key dialo-           In terms of environmental factors, one study revealed that
gical vehicles identified in these studies were providing sexual     neighborhood/community conditions can hinder disclosure
abuse information through prevention programs, being asked           when there is lack of school involvement in providing a sup-
about sexual abuse, and being prompted to tell (McElvaney            portive environment, such as in following up on troubling stu-
et al., 2012; Ungar et al., 2009a).                                  dent behavior (Alaggia, 2010). Additionally, a child victim’s
                                                                     anticipation of a negative response to disclosure, especially that
                                                                     they may not be believed by others outside their family such as
Contemporary models of CSA disclosure reflect a social-ecological    neighbors or other community members, has shown to deter
perspective. Knowledge on CSA disclosure has been steadily           disclosure (Collin-Vézina et al., 2015).
advancing toward a holistic understanding of the complex                 Cultural factors influencing CSA disclosure have been stud-
interplay of individual, familial, contextual, and cultural fac-     ied to a much lesser degree. Despite this, a few important
tors (Alaggia & Kirshenbaum, 2005; Brazelton, 2015; Fontes           studies examining critical sociocultural factors now exist for
& Plummer, 2010). Where at one time factors examined and             better understanding CSA disclosure within a cultural context
identified were predominantly of intrapersonal factors of child      (Brazelton, 2015; Fontes & Plummer, 2010). Among these
victims, knowledge construction has shifted to fuller social–        important contributions, Brazelton’s (2015) research has deli-
ecological, person-in-environment explanations (Alaggia,             neated CSA disclosure processes as “shaped by relational,
2010; Collin-Vézina et al., 2015; Easton et al., 2014; Hunter,      racial, socio-cultural, historical, and developmental factors”
2011; Ungar, Tutty, McConnell, Barter, & Fairholm, 2009b).           (p. 182). In a unique study using culturally focused research
Social–ecological explanations open up more opportunities to         literature as data triangulated with clinical case material, cul-
intervene in facilitating earlier disclosures. Alaggia (2010) pro-   turally based belief systems in many cultures have been found
poses an ecological mapping of what individual, interpersonal,       to foster family climates that can silence children from disclos-
environmental, and contextual influences impede or promote           ing abuse (Fontes & Plummer, 2010). Taboos about sexuality,
CSA disclosures based on analysis of in-depth interview data of      patriarchal attitudes, and devaluation of women are among
40 adult survivors. Subsequently, based on a sample of 67 adult      some of the cultural barriers that inhibit disclosure (Fontes &
survivors, Collin-Vézina, Sablonni, Palmer, and Milne (2015)        Plummer, 2010).
identified three broad categories, closely aligned with an eco-          Clearly, disclosure conceptualizations are being integrated
logical framework that impede CSA disclosure: (1) barriers           into a social–ecological model of individual and developmental
from within, (2) barriers in relation to others, and (3) barriers    factors, family dynamics, neighborhood, and community con-
in relation to the social world which can be aligned to intra-       text as well as cultural and societal attitudes toward better
personal, interpersonal, and contextual factors.                     understanding disclosure barriers and facilitators (Alaggia,
    A summary of knowledge building using a social–ecologi-          2010), although more data are needed on cultural and contex-
cal framework follows. Knowledge gained in the intrapersonal         tual factors.
domain includes expanded conceptualization of disclosure by
building on previous categories of accidental, purposeful, and       Age and gender as predictors of disclosure
prompted disclosure to also include behavioral and indirect              Age. Age is consistently found to be an influential factor in
attempts to tell, intentionally withheld disclosure, and triggered   CSA disclosure, making the life stage of the victim/survivor a
and recovered memories (Alaggia, 2004). Categories of indi-          critical consideration. Studies draw distinctions in age-groups
rect behavioral disclosure patterns have been further verified in    falling into either under or over 18 years of age. Eighteen years
follow-up research by Hunter (2011), and through an extensive        of age was the common age cutoff point that investigators chose
file review that used Alaggia’s (2004) disclosure framework to       in order to distinguish child/youth populations from adult sam-
analyze their data (Collings et al., 2005) for verification.         ples. Sixteen of the studies drew on samples of children and
    Interpersonal factors have also emerged in regard to certain     youth, while the other 15 studies sampled adults over the age
family characteristics as disclosure barriers. Families with         of 18, and a further two studies used mixed age-groups (refer to
rigidly fixed gender roles, patriarchal attitudes, power imbal-      Table 1). Among the child and youth samples, the age ranges
ances, other forms of child abuse and domestic violence, chao-       spanned from preschool to late adolescence (3–17 years of age),
tic family structure, dysfunctional communication, and social        with varying methodological approaches implemented across
isolation have been found to suppress disclosure (Alaggia &          age cohorts. For younger cohorts, file reviews and secondary
Kirshenbaum, 2005; Collin-Vézina et al., 2015; Fontes &             data analyses of CSA reports were typically undertaken. Ado-
Plummer, 2010). In addition, relationship with perpetrator is        lescents were most often given surveys. Sometimes children and
a factor whereby research indicates that disclosure is made          youth were interviewed as part of administering a survey or as a
more difficult when the perpetrator is a family member or close      follow-up (Crisma et al., 2004; Hershkowitz et al., 2005; Ungar
to the family (Dumont, Messerschmitt, Vila, Bohu, & Rey-             et al., 2009b). In the majority of child and adolescent samples,
Salmon, 2014;Easton, 2013; Goodman-Brown et al., 2003;               sexual abuse concerns were already flagged to investigative
Hershkowitz et al., 2005; Priebe & Svedin, 2008; Schönbucher        authorities. However, the work of Ungar, Barter, McConnell,
et al., 2012). This is especially a barrier when the perpetrator     Tutty, and Fairholm (2009a, 2009b) is one exception, whereby
lives with the victim (LeClerc & Wortley, 2015).                     their survey elicited new disclosures.
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    Adult studies typically had a mean age between 40 and 50           for the abuse, resulting in no disclosure. Male participants in a
years. Interviews were the main data collection method with a          subsequent study also relayed that gender norms and stereotypes
few exceptions using survey designs (i.e., Easton, 2013; Kogan,        contributed to them concealing the abuse because they were
2004; Smith et al., 2000) and case file reviews (i.e., Collings        abused by a woman (Gagnier & Collin-Vézina, 2016). In the one
et al., 2005; Goodman-Brown et al., 2003). Results show a clear        study that compared male and female disclosures, investigator
trend toward increased likelihood of disclosure in older youth,        found that men’s fears of being viewed as homosexual; profound
and findings from adult samples showing a preponderance of             feelings of stigmatization or isolation because of the belief that
disclosures in adulthood, with the large majority of participants      boys are rarely victimized; and fear of becoming an abuser acted
of adults reporting never having had a sexual abuse complaint          as disclosure barriers. Whereas females felt more conflicted about
filed with investigative authorities as a child or an adolescent       who was responsible for the abuse and more strongly anticipated
(i.e., Hunter, 2011; Gagnier & Collin-Vézina, 2016; Sorsoli,          being blamed and not believed (Alaggia, 2005).
Kia-Keating, & Grossman, 2008; Ungar et al., 2009b).
    With children and youth under the ages of 18 distinct              Lack of a life-course perspective. Given that the study of CSA
patterns emerged. First, accidental detection, rather than             disclosure draws on age-groups ranging from samples of very
purposeful disclosure, is more likely to occur with younger            young children to retrospective studies of adult survivors, with
children. For example, in one large-scale study of over                significant developmental considerations, this area of study
1,737 file reviews, over half of the CSA-related cases were            lacks an intentional cohesive life-course perspective. Most data
identified through accidental and eyewitness detection (61%),          are derived from either cross-sectional or retrospective designs,
while less than one third were purposeful disclosures initiated        with few longitudinal studies. There are a series of sound, yet
by the child victim (Collings et al., 2005). A second pattern          disconnected, studies focusing on specific age-groups of chil-
which emerged is that rates of disclosure increase with age,           dren and adolescents, along with adult retrospective studies.
especially into adulthood, which is supported by persistent            Thus, the available knowledge base does not allow for a cohe-
findings of high rates of delayed disclosure reported later            sive picture of CSA disclosure processes and pathways over the
in the life course by adult survivors (Collings et al., 2005;          life course to emerge.
Collin-Vézina et al., 2015 ; Easton, 2013; Jonzon & Linblad,              The life-course perspective has long been recommended as
2004; Kogan, 2004; Leclerc & Wortley, 2015; Sorsoli et al.,            a critical lens for the study of child abuse (Browning & Lau-
2008). While gender and relationship with the perpetrator are          mann, 1997; Williams, 2003). For example, a life-course per-
considerable factors in CSA disclosure, age is consistently a          spective has been utilized to understand the immediate- and
stronger predictor of disclosure (or nondisclosure) (Hershko-          long-term effects of CSA on the developing child victim
witz et al., 2005; Leclerc & Wortley, 2015). Third, younger            (Browning & Laumann, 1997). Further, a life-course perspec-
children who disclose are more likely to do so in an interview         tive is important in terms of examining age of onset of CSA to
situation or other environment that provides prompts or                explain the differential effects of sexual victimization and
questions about sexual abuse (Hershkowitz et al., 2005;                developmental impacts in terms of understanding their ability
McElvaney, Greene, & Hogan, 2014; Schaeffer et al.,                    to disclose—effects that need to be understood within a devel-
2011), but this trend can also be seen in older youth (Ungar           opmental context, especially for designing appropriate inter-
et al., 2009a, 2009b).                                                 ventions for disclosure at critical transitions from early
                                                                       childhood through to adolescence and into adulthood. In addi-
   Gender. A number of studies have recently focused on CSA            tion, important “turning points” in life may facilitate disclo-
disclosures with male victims, since males have been an under-         sures. For example, entry into adulthood given that delayed
studied population (Alaggia, 2005; Easton, 2013; Easton et al.,        disclosure occurs more often in adulthood. Alaggia (2004,
2014; Gagnier & Collin-Vézina, 2016). Most investigations             2005) found that being in a committed relationship or the birth
that sampled both sexes show females outweighing male parti-           of children acted as facilitators for some survivors to disclose,
cipants. Although women are at double the risk of being sub-           especially to their spouses. These significant life events, as
jected to CSA, the ratio of women to men in most disclosure            contributing to disclosures, bear further examination.
studies has not been representative. This finding may be indi-
cative of male victims more likely delaying disclosing their
                                                                       Summary of barriers and facilitators. Research over the past 15
CSA experiences, leaving male disclosure in child and youth
                                                                       years continues to uncover barriers to CSA disclosure at a
samples underrepresented (Hébert, Tourigny, Cyr, McDuff, &
                                                                       higher frequency than that of facilitators. As stated previously,
Joly, 2009; Ungar et al., 2009b).
                                                                       this might be the result of sampling methods whereby partici-
   Easton, Saltzman, and Willis (2014) have been developing
                                                                       pants who volunteer for disclosure research may have had more
gender-specific modeling of disclosure examining male disclo-
                                                                       negative disclosure experiences, especially since many report
sures. Their proposed model groups male disclosures into barrier
                                                                       delays in disclosure. The following section outlines the major
categories as determined by individual factors, interpersonal
                                                                       trends in both barriers and facilitators (see Table 2).
issues, and factors that are sociopolitical in nature. These authors
suggest that predominant gender norms around masculinity rein-            Barriers. Age and gender were found to contribute to barriers
force the tendency for male victims of CSA to blame themselves         as covered in Theme 3. Disclosures generally increase with age
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Table 2. Factors Influencing Child Sexual Abuse Disclosures.

Barriers                                                                    Facilitators

Age: The younger the child victim, the less likely they will purposefully   Age: Disclosures increase with age, especially in adulthood.
   disclose.
Gender: Males may be less likely to disclose in childhood/adolescence,      Gender: Slight trend toward females who are older (adolescent) to
   fear of being seen as homosexual and as a victim, females experience       disclose before adulthood
   more self blame and anticipation of being blamed and/or not
   believed
Relationship to perpetrator: If the perpetrator is a family member or in    Relationship to perpetrator: If the perpetrator is not living with the
   a family like role, disclosure is less likely to happen                     victim, disclosure rates increase
Internal: Shame, self blame, and fear are psychological barriers. In        Dialogical context: Opportunities to disclose through discussion,
   addition, fear of negative consequences on the family and for self          therapeutic relationship, information sessions on sexuality, and
   safety inhibits disclosure                                                  sexual abuse prevention programs
Family relations: Families with a patriarchal structure, rigidly fixed      Family relations: Supportive parent–child relationship.
   gender roles, dysfunctional communication, other forms of abuse          Involvement of others: Eyewitnesses coming forward and reporting;
   (i.e., domestic violence), and isolation inhibit disclosure                 detection through community members, professionals
Environmental and cultural context: Lack of discussion about sexuality;     Environmental and cultural context: Promotion of open discussion of
   passive acceptance that unwanted sexual experiences are inevitable;         sexuality; community member involvement
   not wanting to bring shame to the family by admitting sexual abuse;
   lack of involvement from neighbors, school personnel; and stigma
   perpetuated by societal perceptions



as children gain more developmental capacity, understanding                 between men and women, parents and children, presence of
of sexual abuse as victimization, and increased independence.               other forms of child abuse and/or domestic violence, chaotic
Males are somewhat less likely to disclose, but this is often in            family structure, dysfunctional communication, and social iso-
interaction with other factors in the environment such as soci-             lation have been found to suppress disclosure (Alaggia & Kir-
etal attitudes that promote hypermasculinity as desirable, atti-            shenbaum, 2005; Collin-Vézina et al., 2015; Fontes &
tudes that perpetuate negative views of boys and men who are                Plummer, 2010). In regard to broader environmental factors,
victims, and homophobic attitudes (Alaggia, 2010; Easton                    disclosure can be hindered when involved and supportive com-
et al., 2014; Gagnier & Collin-Vézina, 2016).                              munity members are not available, or not trained in sensitive
    Victims of intrafamilial abuse when the offender is a parent,           responses, or when child victims anticipate not being believed
caregiver, significant family member, or someone in a family-               by neighbors and other people outside the family (Alaggia,
like role are less likely to disclose immediately or at all in              2010; Collin-Vézina et al., 2015). Further, barriers in relation
childhood/adolescence because of obvious power differentials                to the social world were identified as stigmatization, the neg-
and dependency needs (Collings et al., 2005; Dumont et al.,                 ative labeling of sexual abuse victims, and taboos surrounding
2014; Hershkowitz et al., 2005; Kogan, 2004; Leclerc & Wort-                sexuality and talking about sex as driven by cultural norms
ley, 2015; Paine & Hansen, 2002; Schaeffer et al., 2011).                   (Collin-Vézina et al., 2015; Fontes & Plummer, 2010).
    Further, the perpetrator residing with their victim(s)                      Identification of cultural barriers is important recent contri-
increases the likelihood of no disclosure (Leclerc & Wortley,               bution to understanding disclosure processes—and in particular
2015).                                                                      to the obstacles. Findings related to cultural barriers included
    Internalized victim-blaming, mechanisms to protect oneself              themes of children’s voices not being heard leading to silen-
(such as minimizing the impact of the abuse), and developmen-               cing, the normalization of the sexualization and objectification
tal immaturity at the onset of abuse constituted internal bar-              of girls and women, and the perpetuation of hypermasculinity
riers. Further, shame, self-blame, and fear have been identified            in men—all acting as barriers in terms of stigma to disclosure
as significant factors deterring disclosure (Collin-Vézina et al.,         (Alaggia, 2005, 2010; Easton et al., 2014). Brazelton (2015)
2015; Crisma et al., 2004; Goodman-Brown et al., 2003; Hun-                 similarly found that lack of discussions about sex, young age at
ter, 2011; Kogan, 2004; McElvaney & Culhane, 2015; McEl-                    the onset of sexual abuse, therefore not having the language to
vaney et al., 2014). However, aspects of shame, self-blame and              express what was happening to them, and preserving the family
fear, and have not been fully explored in research. Since these             good name by not talking about abuse in the family were also
are strong predictors of disclosure suppression, they bear fur-             barriers to disclosure.
ther examination in future research to understand more fully                    Finally, it may be the case that more barriers continue to be
how they operate in disclosure processes.                                   identified over facilitators of CSA disclosure perhaps because
    In terms of interpersonal and environmental factors, family             of the methods employed in studies—particularly those draw-
dynamics can play a part in deterring disclosure. As previously             ing on adult populations who delayed disclosure. These sam-
mentioned, families characterized by rigidly defined gender                 ples may not be representative of the overall population of CSA
roles, patriarchal attitudes that perpetuate power imbalances               victims, since they may have had more negative disclosure
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experiences, consequently more readily identifying barriers.           (3) age and gender are significant disclosure factors; (4) there
On the other hand, these findings may speak to the actual              is a lack of a life-course perspective; and (5) barriers to disclo-
imbalance between facilitating factors and barriers for disclo-        sure continue to outweigh facilitators. Based on these themes, a
sure, the latter carrying more weight in the victims/survivors’        number of conclusions are drawn from this review. First, dis-
experiences, thus, explaining the high rates of disclosures            closure as a process is emphasized throughout contemporary
delayed until adulthood.                                               research. Advances have been made in understanding these
                                                                       complex processes. However, the disclosure process over
    Facilitators. Although fewer disclosure facilitators are identi-
                                                                       time—for example, how the first detection of CSA or attempts
fied in this review, very important facilitators were nonetheless
                                                                       to disclose in childhood impact later disclosures—are not well
uncovered—ones that should be noted for professionals in this
                                                                       understood. This is the result of the absence of a cohesive life-
field of practice. Internal factors that facilitate disclosures
                                                                       course perspective in investigations, although age consistently
include symptoms that become unbearable, getting older with
                                                                       surfaces as significantly influencing CSA disclosure. Using a
increased developmental efficacy, and realizing that an offence
                                                                       life-course perspective through the use of longitudinal studies
was committed (Collin-Vézina et al., 2015; Crisma et al., 2004;
                                                                       is recommended.
Easton, 2013; Hershkowitz et al. 2007; McElavaney, Greene,
                                                                           The use of varied methodological designs, depending on the
& Hogan, 2014; Schaeffer et al., 2011). Circumstantial facil-
                                                                       developmental stage of the victims/survivors, influences the
itators are those where the child discloses because there has
                                                                       data generated and subsequent findings. For example, most
been evidence provided, eye-witnessing has occurred, and a
                                                                       studies on children and youth are based on file reviews of cases
report has been made. Environmental factors include settings
                                                                       that have been brought to the attention of authorities, or sur-
that provide opportunities such as counseling, interviews,
                                                                       veys, with only a few studies using interviewing of younger
information sessions and educational forums/workshops, and
                                                                       children. Therefore, there is less information available on pro-
prevention programs for children and youth to disclose.
                                                                       cess issues with children and youth. In contrast, research on
    To elaborate, dialogical contexts about CSA for children
                                                                       adult populations largely favors the use of qualitative interview
and youth can provide opportunities for discussion that may
                                                                       methods for retrospective inquiry producing important process
facilitate disclosures (Jensen et al., 2005). The research shows
                                                                       findings. In addition, investigations have not yet captured the
creating open dialogue in relationship contexts, to offset the
                                                                       disclosure experiences of adults in the “emerging adult” stage
power and influence of the perpetrator, can facilitate earlier
                                                                       given that adult studies have failed to recognized that the age
disclosure. Among disclosure facilitators is being asked about
                                                                       range of 18–24, which is now considered a developmental
abuse and given the opportunity to “tell” (McElavaney et al.,
                                                                       phase defined by neurobiological developmental uniqueness.
2014); workshops on abuse and sexual abuse, in particular, can
                                                                       As well, late adulthood has not been given attention as shown
facilitate disclosures (Ungar et al., 2009b); and using culturally
                                                                       by the absence of participants representing this age-group in
sensitive probes and questions (Fontes & Plummer, 2010). In
                                                                       current research (70þ). With a swelling geriatric population in
Gagnier and Collin-Vézina’s (2016) study, positive disclosure
                                                                       North America, issues of historic CSA can be expected to
experiences were described by participants as those where they
                                                                       surface and, with that, new disclosures. This trend is also antici-
felt that they had been listened to, were safe, were believed, and
                                                                       pated due to attitudinal shifts that have presumably occurred
were not judged by the person they disclosed to. Further, family
                                                                       over the last two generations about revealing such traumas and
members and friends (peers) of the child victim can act as key
                                                                       changing views about discussing sexual victimization.
supports to creating an open relational context and fostering
                                                                           Interview guides used in a number of studies intentionally
positive responses (Jensen et al., 2005; Priebe & Svedin, 2008;
                                                                       probed for facilitators, producing notable findings. For exam-
Schönbucher et al., 2012; Ungar et al., 2009b). In particular, as
                                                                       ple, one such finding focuses on the importance of creating a
children grow older, they are more likely to disclose to a peer,
                                                                       contextually supportive environment to promote disclosure
as shown in a number of studies, and this is an important reality
                                                                       across the life course. These include developing therapeutic
for counselors and educators to be aware of (Dumont et al.,
                                                                       relational contexts for disclosure by providing information
2014; Kogan, 2004; Schönbucher et al., 2012; Ungar et al.,
                                                                       about sexuality, sexual abuse, prevention programming, and
2009b).
                                                                       by asking directly. Disclosures to professionals are positive
                                                                       outcomes of how therapeutic contexts work; however, for for-
                                                                       ensic purposes prompting such disclosures would be viewed as
Discussion                                                             problematic in legal settings, seriously compromising testimo-
Through examination of 33 studies published since the year             nies for trial proceedings. This is one example that speaks to the
2000, this review identified five distinct themes regarding CSA        structural barriers victims and survivors run up against time and
disclosure: (1) Disclosure is best viewed as an iterative,             time again. Facilitators that show evidence to promote disclo-
interactive process rather than a discrete event done within           sure in one domain (therapeutic) are seen to work against CSA
a relational context; (2) contemporary models reflect a                survivors in another domain—such as legal settings when per-
social–ecological, person-in-environment framework for                 petrators face prosecution. Defense attorneys will use this as
understanding the complex interplay of individual, familial,           evidence that the disclosure was prompted, and therefore the
contextual, and cultural factors involved in CSA disclosure;           disclosure is potentially seen as not credible. Broadcasting of
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the frequency of acquitted cases or rulings in favor of the                 survivors continue to be systemically and structurally
perpetrator through media outlets, often sensationalized,                   disadvantaged in legal proceedings.
become a further compounding barrier. Given the review find-               Health-care practitioners (i.e., child abuse pediatricians,
ings, we conclude that barriers and facilitators to CSA disclo-             family practice doctors, clinical nurse specialists, and
sures are nuanced and clearly embedded within intrapersonal,                public health nurses) should be made aware of the evi-
interpersonal, environmental, contextual, and cultural                      dence in the CSA disclosure literature to create environ-
domains—often interlocked in complex ways.                                  ments for facilitating therapeutic disclosures.
                                                                           Given that age is a stable predictor of disclosure of CSA,
                                                                            more studies are needed that make use of a life-course
Limitations                                                                 perspective. More longitudinal studies are needed to
                                                                            better identify trends over different life stages.
Although comprehensive in nature with its life-course cover-               The emerging young adult as a developmental age group
age, this review may be limited by its qualitative, thematic                needs specific investigation. Neuroscience research has
focus rather than providing an evaluative, quantitative account-            established that ages 18–24 is a distinct developmental
ing of CSA disclosures. However, because of the recent focus                phase. Late adulthood is another life stage that deserves
on disclosure processes, the authors chose a suitably compati-              to be researched.
ble approach—qualitative in nature. As well, a traditional                 Gender needs to be more fully investigated in relation to
checklist approach in rating the studies was not employed for               impact on disclosure. Awareness that boys and girls
interrater reliability, since two of the authors hold expertise in          have unique challenges and barriers in disclosing CSA
CSA disclosure research and are well versed with the literature.            should be paramount for practitioners.
This expertise, and through closely following a systematic                 Intervention planning should take note that disclosures
review framework (Kiteley & Stogdon, 2014), assures that a                  increase when perpetrators no longer reside with vic-
thorough adjudication of the research literature was completed.             tims, and this finding should be heeded by policy and
                                                                            law makers.
                                                                           Shame, self-blame, and fear are intrapersonal factors
Implications for Research and Practice                                      that persistently emerge as barriers to CSA disclosures
These review findings have implications that can be useful in               and warrant more research to understand how to redress
guiding future research and practice:                                       these barriers for earlier disclosures.

    Solid strides are being made in the use of a social–eco-        Conclusion
     logical framework to underpin investigations in the CSA
     disclosure investigations. Research efforts and practice        There are still a substantial number of children and youth
     considerations should continue in this vein. Investigat-        who are subjected to sexual abuse, despite preventative
     ing environmental factors and contextual and cultural           efforts. Just as concerning is the fact that many victims
     forces is understudied, necessitating more research in          continue to suffer in silence as evidenced by the high num-
     these areas to more fully fill out understanding of CSA         bers of delayed disclosure. These hidden cases should not be
     disclosure from a social–ecological perspective.                overlooked, and these victims should not be forgotten.
    There is good evidence that CSA disclosures are more            Despite significant progress in bringing the issue of CSA
     likely to occur in a dialogical context—formal helping          to the forefront, improving facilitation of disclosure and
     relationships but as well as other relationships such as        increasing positive influences on disclosure processes are
     peers and trusted adults. Providing information and edu-        still critical in order to protect current and future genera-
     cation on topics of sexuality in general, and sexual abuse      tions of children and youth from the grave effects of sexual
     specifically, can help children and youth to disclose.          violence. Further, the focus should not be simply on
     Raising awareness and prevention programs can pro-              strengthening and shoring up intrapersonal resources of vic-
     mote disclosures of sexual violence committed against           tims to disclose but rather to change environmental condi-
     children and youth.                                             tions to create a more supportive and safer context for CSA
    Goals of therapeutically supported disclosures (i.e.,           victims and survivors to disclose.
     through therapy) may need to take precedence over for-
     ensic approaches, if well-being of child victims and            Declaration of Conflicting Interests
     adult survivors is to be made paramount. Legal pro-             The author(s) declared no potential conflicts of interest with
     cesses may act to facilitate disclosures but can also act       respect to the research, authorship, and/or publication of this
     as barriers because of the negative outcomes experi-            article.
     enced in the court process.
    Practitioners need to keep in mind that the legal system        Funding
     is lagging far behind in knowledge uptake of recent             The author(s) received no financial support for the research, author
     evidence on CSA disclosures so that victims and                 ship, and/or publication of this article.
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Disclosure of Child       Rosaleen McElvaney
                                                                                                        School of Nursing and Human

Sexual Abuse: Delays,                                                                                   Sciences, Dublin City University,
                                                                                                        Dublin, Ireland



Non-disclosure and
Partial Disclosure. What
the Research Tells Us and
Implications for Practice
This paper reviews the research on disclosure of child sexual abuse with speciﬁc reference
to delays in disclosing, non-disclosure and partial disclosure of experiences of child sexual
abuse. Findings from large-scale national probability studies highlight the prevalence of
both non-disclosure and delays in disclosure, while ﬁndings from small-scale qualitative
studies portray the complexity, diversity and individuality of experiences. The possible
explanations regarding why children are reluctant to disclose such experiences have
signiﬁcant implications for addressing the issue of child sexual abuse from the perspectives
of child protection, legal and therapeutic professionals. The importance of understanding               ‘The importance of
the dynamics of disclosure, in particular the needs of young people to maintain control over
the disclosure process, the important role that peers play in this process, the responses               understanding the
of adults in both informal and formal networks, and the opportunities to tell, is key to                dynamics of
helping young people speak more promptly about their experiences of sexual abuse.
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KEY PRACTITIONER MESSAGES:
  • Children typically delay disclosing experiences of abuse.
  • Asking children questions about their wellbeing gives them the opportunity to tell
     when they are ready.
  • The challenge is to ﬁnd the right questions at the right time.
  • Peers can be the right people to ask these questions.
  • Adolescents need to know about how to ask and what to do if someone tells.
                                                                                                        ‘Adolescents need to
                                                                                                        know about how to
KEY WORDS: child sex abuse; disclosure; research to practice                                            ask and what to do if
                                                                                                        someone tells’

     n issue of increasing concern in recent years is the phenomenon of
A    delayed disclosure of childhood sexual abuse and the need to understand
the process of how children and adults disclose their experiences of child
sexual abuse, given the implications for child protection, social justice and

*Correspondence to: Rosaleen McElvaney, School of Nursing and Human Sciences, Dublin City University,
Glasnevin, Dublin 9, Ireland. E-mail: rosaleen.mcelvaney@dcu.ie


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                                           mental health outcomes. This paper reviews the research on disclosure patterns
  ‘This paper reviews                      of childhood sexual abuse, speciﬁcally delays in disclosure, non-disclosure
  the research on                          (as evident through adult retrospective studies) and partial disclosures, and
                                           discusses implications for practice. Literature searches of the online databases
  disclosure patterns of                   PSYCINFO and Social Sciences Citation Index, in addition to manual searches
  childhood sexual                         of texts published since 2000, were conducted using the search terms ‘child
  abuse’                                   sexual abuse’, ‘sex abuse’ and ‘disclosure’.
                                              The research to date on disclosure patterns is based on two sampling
                                           methodologies – studies of adults reporting retrospective experiences and
                                           studies of children. The former group of studies has the beneﬁt of drawing
                                           on large-scale national probability samples which can be considered to be
                                           representative of the general population. The latter group with some small
                                           exceptions (predominantly adolescent studies) uses samples of young people
                                           who have disclosed sexual abuse but would not be considered as representative
                                           of all children who have been abused:

                                                ‘children who decide to tell someone about being sexually abused and whose
                                              cases therefore come to court are not representative of sexually abused children in general’
                                              (Olafson and Lederman, 2006, p. 29).


                                           Patterns of Disclosure: Delays and Non-disclosure

                                           There is consensus in the research literature that most people who experience
  ‘Most people who                         sexual abuse in childhood do not disclose this abuse until adulthood, and when
  experience sexual                        disclosure does occur in childhood, signiﬁcant delays are common. Table 1
                                           summarises two large-scale studies to highlight the extent of delays in disclosure
  abuse in childhood do                    and the percentage of those who did not disclose to anyone prior to the study.
  not disclose this                           Kogan (2004) examined the timing of disclosure of unwanted sexual
  abuse until adulthood’                   experiences in childhood or adolescence in a sub-sample (n = 263 adolescent
                                           women, aged 12 to 17) of the National Survey of Adolescents (Kilpatrick and
                                           Saunders, 1995) in the USA – a nationally representative study. Kogan’s
                                           results can be summarised as follows: immediate disclosure (within 1 month)
                                           43 per cent, delayed disclosure (less than 1 year) 31 per cent and non-disclosure
                                           (disclosed only during the survey) 26 per cent. Smith and colleagues (2000)
                                           examined a sub-sample (n = 288) of the National Women’s Study in the
                                           USA (Resnick et al., 1993, cited in Smith et al., 2000) who had reported a
                                           childhood rape prior to the age of 18. Smith et al.’s ﬁndings can be
                                           summarised as follows: immediate disclosure (within 1 month) 27 per cent,
                                           delayed disclosure (more than a year) 58 per cent and non-disclosure (survey
                                           only) 28 per cent. Those who had never disclosed prior to the survey constitute
                                           comparable proportions in these two studies while the rates for immediate

                                           Table 1. Patterns of disclosure    delay and non-disclosure

                                                                                                  Kogan (2004)                Smith et al. (2000)
                                                                                             (n    263 adolescents)            (n 288 adults)

                                           Told within 24 hours                                       24%                            18%
                                           Told within 1 month                                        19%                             9%
                                           Told within 1 year                                         12%                            11%
                                           Delayed telling more than 1 year                           19%                            47%
                                           Never told before survey                                   26%                            28%


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                                    Disclosure Patterns in Child Sexual Abuse                                           161

disclosure are higher in the adolescent study than in the adult study, a              ‘The rates for
reassuring ﬁnding given the increased awareness of sexual abuse in society
during the past 20 years.                                                             immediate disclosure
   Goodman-Brown and colleagues (2003) examined USA district attorney                 are lower in the
ﬁles of 218 children. Their categories were slightly different from the previous      adolescent study than
two studies but in summary, immediate disclosers (within 1 month) constituted
64 per cent of the sample while 29 per cent disclosed within six months.
                                                                                      in the adult study’
This study is unusual insofar as the sample studied had reported their
experience of abuse to the authorities and a prosecution was in progress.
Goodman-Brown et al. also pointed out that families who participated in this
study were more likely to represent those children who experienced abuse by
someone outside the family. Research has found that delays in disclosure are
longer for those abused within the family (Sjoberg and Lindblad, 2002;
Goodman-Brown et al., 2003; Kogan, 2004; Hershkowitz et al., 2005).
Therefore, children who disclose more promptly may be overrepresented in
legal samples.                                                                        ‘Children who disclose
   In Sweden, Priebe and Svedin (2008) conducted a national survey of 4339            more promptly may be
adolescents, of whom 1962 reported some form of sexual abuse (65% of girls
and 23% of boys). Details of the time lapse in disclosing were not available          overrepresented in
from this study. However, of those who had disclosed and answered the                 legal samples’
questions on disclosure (n = 1493), 59.5 per cent had told no-one of their
experiences prior to the survey. Of those who did disclose, 80.5 per cent
mentioned a ‘friend of my own age’ as the only person who they had told. In
this study, 6.8 per cent had reported their experiences to the social authorities
or police. A further Swedish study of 122 women who had experienced
childhood sexual abuse (Jonson and Lindblad, 2004) found that 32 per cent
disclosed during childhood (before the age of 18) while the majority told in
adulthood (68%). The delay was up to 49 years, with an average of 21 years
(SD = 12.9). Of those who told in childhood, 59 per cent told only one person.
In Ireland, the SAVI study (n = 3118, McGee et al., 2002) found that 47 per
cent of those respondents who had experienced some form of sexual assault
prior to age 17 had told no-one of this experience until the survey. McElvaney
(2002) investigated delay in a legal sample of ten adults who had made formal
complaints of childhood sexual abuse in Ireland and found delays ranging from
20 years to 50 years.                                                                 ‘Delays ranging from
   Studies of children in the context of forensic/investigative interviews
                                                                                      20 years to 50 years’
where children are interviewed by professionals due to concerns that the
child has been sexually abused also point to high non-disclosure rates,
particularly striking in cases where there is corroborative evidence that
abuse has occurred – medical evidence (Lyon, 2007), or confessions from
the abuser or videotaped evidence/witness reports (Sjoberg and Lindblad,
2002). Lyon (2007) reported his ﬁndings from a review of studies
published between 1965 and 1993 of children diagnosed with gonorrhoea
where the average disclosure rate among 579 children was 43 per cent
(n = 250). In a study where the evidence for the abuse was available on videotape,
children have denied abuse when interviewed by the police (Sjoberg and
Lindblad, 2002).
   In summary, signiﬁcant numbers of children do not disclose experiences of
sexual abuse until adulthood and adult survey results suggest that signiﬁcant

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                                           proportions of adults have never disclosed such abuse, as evidenced by the
  ‘High numbers of                         high numbers of respondents disclosing to researchers for the ﬁrst time.
  respondents                              Patterns of Disclosure – Partial Disclosure
  disclosing to
  researchers for the                      Information on how children disclose over time can be obtained from studies
                                           of children who participated in forensic/investigative interviews where
  ﬁrst time’                               children are interviewed by professionals due to concerns that the child has
                                           been sexually abused. The issue of partial disclosures was highlighted by
                                           earlier studies such as those by DeVoe and Faller (1999) of ﬁve- to ten-year
                                           olds (i.e. making detailed informal disclosures that were not replicated in
                                           formal interviews) and Elliott and Briere (1994) of children aged eight to
                                           15 years (i.e. disclosing only partial information until confronted with external
                                           evidence that led to more complete disclosures).
                                              More recently, investigators have examined the role of the interviewer and
                                           questioning styles in the forensic interview and how this impacts on children’s
                                           disclosures and the level of detail provided in interview. Hershkowitz et al.
                                           (2006) compared tapes of interviews with children who disclosed sexual abuse
                                           and those who did not (but about whom there was ‘substantial’ reason to
                                           believe that they had been abused). They found that interviewers behaved
  ‘They found that                         differently with the two groups, using different types of prompts with children
  interviewers behaved                     who presented as somewhat uncooperative, offered fewer details and gave
                                           more uninformative responses at the beginning of the interview. It would
  differently with the                     appear that interviewers responded to less communicative children by
  two groups’                              increasing the proportion of closed questions which in turn led to children
                                           being less forthcoming. Lamb et al. (2002) have found that the use of a
                                           protocol that emphasises the use of prompts that elicit free narrative (e.g. ‘tell
                                           me about that’) as compared with closed questions (those requiring a yes/no
                                           response) has resulted in more detail and more accuracy in children’s
                                           accounts.
                                              Although few studies exist that examine the phenomenon of disclosure in
                                           informal settings (when disclosure is made to a friend or family member),
                                           some qualitative studies have described this process. McElvaney (2008) quoted
                                           one teenage girl who described hinting to her mother prior to disclosing the
                                           experience: ‘I didn’t tell her what happened but I was saying things that made
  ‘A parent described                      her think it made her think that it happened but I didn’t tell her’ (p. 127). A
  how her teenage son                      parent described how her teenage son told her over a period of days, keeping
                                           the most difﬁcult parts of the story until last:
  told her over a period of
  days’                                         ‘He came out with like it came out over two or three days so you know. . ..he’d say well
                                             I’ve something else to tell you. . . the bad stuff last. . . what hurt him most and what he’s
                                             saying what hurt him most’ (p. 92)

                                             And ﬁnally, one young person described how she told her social worker:

                                                ‘I couldn’t tell her most things but I just gave things to her to read. . . I told her at ﬁrst I told
                                             her bits of it and em then just the others. I ﬁnished writing and then I gave them to her. . . later
                                             I told her that it was the father as well.’ (p. 93)

                                             This young person had been abused by both a father and son in a family with
                                           whom she was staying.
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   In reviewing the literature on this subject, London and colleagues (2005)
noted, ‘when children do disclose, it often takes them a long time to do so’                            “When children do
(p. 204).                                                                                               disclose, it often takes
                                                                                                        them a long time to do
Reasons for Patterns of Delay, Partial Disclosure and Non-disclosure                                    so”

There are many inﬂuences on disclosure that have been identiﬁed in the
research literature to help explain why it is that children delay disclosure, are
reluctant to disclose, provide details of their experiences over time or do not
disclose at all. Age has been identiﬁed as a signiﬁcant predictor of disclosure
in that younger children are less likely to disclose than older children. Children                      ‘Younger children are
who are abused by a family member are less likely to disclose and more likely                           less likely to disclose
to delay disclosure than those abused by someone outside the family (Smith
et al., 2000; Goodman-Brown et al., 2003; Kogan, 2004). Children who do
                                                                                                        than older children’
disclose during forensic interviews compared to children who do not disclose
in such contexts (yet concerns remain that they have been abused) are more
likely to have parents (particularly mothers) who are more supportive (Lawson
and Chafﬁn, 1992). In Priebe and Svedin’s (2008) study of young people,
parental bonding (positive relationship with parent who was not overprotective)
was identiﬁed as the most signiﬁcant predictor of disclosure for both boys and
girls. However, close relationships can also act as an inhibitor to disclosure.
McElvaney (2008) found that many young people in her study were reluctant                               ‘Many young people
to disclose due to concerns of upsetting their parents while others were concerned                      in her study were
about the consequences for others of their disclosure. One 13-year-old girl
described her concern that if she told, her uncle would go to jail and her small                        reluctant to disclose
cousins would be left without a father:                                                                 due to concerns of
                                                                                                        upsetting their
     ‘I didn’t want them to grow up with no Dad and just looking at . . . their other little friends
   having their Dad holding their hand I felt like I was taking their Dad away from them’ (p. 130)      parents’

   Gender has been found to inﬂuence disclosure in that boys appear to be
more reluctant to disclose than girls (Goodman-Brown et al., 2003;
Hershkowitz et al., 2005; Ungar et al., 2009a). Mental health difﬁculties on
the part of the child have also been found to be relevant, particularly when
children experience dissociative symptoms or other post-traumatic stress
symptomatology (Priebe and Svedin, 2008).
   Some studies have found that the severity of abuse (e.g. penetrative abuse)
predicts earlier disclosure while other studies have found no relationship
between different types of abuse and disclosure timing. Similarly, the relationship
between the duration of abuse – one-off incidents of abuse compared with abuse
that takes place over a signiﬁcant period of time – and timely disclosure has been
investigated with mixed ﬁndings. Fear of the consequences of disclosure has been                        ‘Fear of the
identiﬁed as a predictor of delayed disclosure and this in turn is associated with                      consequences of
the age of the child (Goodman-Brown et al., 2003). Older children are more
cognitively competent in terms of being able to reﬂect on and anticipate possible                       disclosure has been
reactions to their disclosure. This can act then as an inhibitor to disclosure,                         identiﬁed as a
although as noted above, most studies have found that older children are more                           predictor of delayed
likely to disclose than younger children. Fears of not being believed have been
described by young people as inhibiting their disclosure and these fears are often
                                                                                                        disclosure’
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                                           justiﬁed. Hershkowitz et al. (2007) interviewed children about their initial
                                           disclosures prior to formal interview and 50 per cent of the sample (n = 30)
                                           reported feeling afraid or ashamed of their parents’ reaction. The authors reported
                                           that parents did show a tendency to blame their children and react angrily to
                                           the disclosure.
                                              Recent research has highlighted the need for children to be asked direct
                                           questions to facilitate their disclosure. Of those children who did disclose,
                                           signiﬁcant proportions disclosed following prompts rather than it being
                                           initiated by the child (Kogan, 2004). Qualitative studies drawing on interviews
                                           with children that focus on the disclosure process are important in
  ‘Investigating the                       investigating the precise circumstances that led to disclosures for children.
  precise                                  McElvaney (2008) found that parents’ questioning of children was prompted
                                           by their concern about the young person’s emotional distress. On occasion,
  circumstances that                       young people were communicating that something was not right in their world
  led to disclosures for                   but were not able to articulate this verbally. Signs of psychological distress
  children’                                were, however, evident and questions targeted at the reasons for this distress
                                           were identiﬁed by McElvaney as a factor that helped young people to tell.
                                           Thus, many children may not have told about their experiences of abuse
                                           because they were not asked. McGee et al. (2002) followed up a sample of
                                           their respondents who had disclosed childhood abuse for the ﬁrst time in their
                                           survey. When asked why they had not disclosed prior to the survey, many
                                           respondents noted that it was because they had not been asked. Increasingly,
  ‘Signiﬁcant                              research studies are ﬁnding that signiﬁcant proportions of disclosure have
  proportions of                           been prompted by questions by caregivers, friends or others in the child’s
  disclosure have been                     educational and social milieu that in themselves provide an opportunity for
                                           the young person to tell (Jensen et al., 2005; Hershkowitz et al., 2007;
  prompted by                              McElvaney et al., 2012).
  questions by                                Finally, some children need time to tell. Mudaly and Goddard (2006) quote
  caregivers, friends or                   a 13-year-old girl: ‘she (mother) helped by not making me, not rushing me
                                           to get it out, which, um, I think it’s a really stupid idea to make kids get it
  others’                                  out A.S.A.P.’ (p. 91).


                                           Implications for Practice

                                           The consensus in the research literature at the present time is that disclosure is
                                           multi-determined, inﬂuenced by a complex range of factors that may inﬂuence
                                           each child in a different way. Large-scale national probability studies conﬁrm
                                           that non-disclosure and delays in disclosure are signiﬁcant problems facing
                                           society and in particular for those professionals tasked with safeguarding the
                                           wellbeing of children. Children’s fears and anxieties in relation to telling need
                                           to be understood and contained by those in their environment so that early
                                           disclosure can be encouraged and facilitated.
  ‘The implications of                        The implications of these ﬁndings can be considered in interrelated
  these ﬁndings can be                     contexts: the legal context where action can only be taken if the child is able
                                           to give a clear, credible account of his/her experiences; child protection and
  considered in                            therapeutic contexts where a comprehensive account is required to enable child
  interrelated contexts’                   protection professionals to intervene and where the psychological sequelae can
                                           be addressed to minimise the long-term impact of the experiences; and family
                                           and community contexts where early disclosure needs to be encouraged, and
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other family issues addressed in the aftermath of disclosure and where peers
play an important role.
   Studies have conﬁrmed the importance of professionals asking children and
young people in a sensitive, open manner about possible experiences of abuse
using non-leading questioning styles to minimise inaccurate accounts or
contaminate children’s narratives. It is clearly important for professionals to
remain open to the possibility of abuse and further disclosure. It is equally
important for professionals to be able to avoid persisting with questioning
those children who are ‘reluctant disclosers’. Similarly, professionals engaged
with children in therapeutic work need to be open to the possibility of both
initial and further disclosures.
   Contradiction in witness statements is a well-known feature of false statements      ‘Contradiction in
and giving additional detail to original formal statements can be interpreted           witness statements is
within child protection, therapeutic and legal contexts as a contradiction of an
earlier account. Listening to children’s accounts of their experiences of disclosure    a well-known feature
helps us understand why it is that disclosure can be delayed and that when they do      of false statements’
feel ready to tell this is not an ‘all or nothing’ decision. As one young person in
Staller and Nelson-Gardell’s (2005) study noted, ‘it’s never ﬁnished, never’ p.
1426. This understanding in turn helps us identify those circumstances and
reactions that may encourage the child to disclose.
   The importance of asking children questions, thus giving them an
opportunity to tell, has been identiﬁed. While parents, teachers and those in
daily contact with children are often reluctant to question children, it is clear
that many children do not disclose unless given this opportunity. Education             ‘Education and
and increased awareness are needed on how to question children in an                    increased awareness
appropriate manner. McElvaney (2008) noted that questions did not need to
be about sexual abuse per se, but rather questions prompted by the young                are needed on how to
person’s psychological distress, asking after the young people’s wellbeing.             question children in
This questioning in effect acted as an external pressure for the young person           an appropriate
to tell his/her secret (McElvaney et al., 2012). In Ungar et al.’s (2009a) study
of Canadian youth, they found that young people used a range of disclosure              manner’
strategies ranging from less direct strategies (such as risk-taking behaviours,
not talking about the abuse) to direct strategies (such as seeking support from
peers, turning to non-professional adult supports, disclosing to formal service
providers), representing a process that relied heavily on others to ‘build the
bridges between the youth and formal care providers’ (p. 352).
   The tendency to delay disclosing and the partial nature of many disclosures
are not conducive to successful legal investigations and prosecutions. In
addition, the knowledge base that exists within the legal sphere is limited if
only a percentage of the children who experience sexual abuse engage with
this system. The disproportionately high ‘immediate disclosure’ rate found
in Goodman-Brown et al.’s (2003) legal sample compared to Kogan’s
(2004) community sample raises the question of the representation of delayed
disclosers in the legal system. Are children who delay in disclosing less likely        ‘Are children who
to engage with the legal system? Are delays in disclosing contributing to               delay in disclosing
decisions not to prosecute child sexual abuse crimes? In Ireland, the 1990s
saw a signiﬁcant increase in the numbers of complainants coming before the              less likely to engage
courts reporting experiences of childhood sexual abuse. Many of these cases             with the legal system?’
were referred to the higher courts for judicial review proceedings to establish
whether the cases could proceed without prejudicing the accused given the
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                                           delay in the complaint being made and giving due regard to the accused’s right
                                           to a speedy trial. Psychological expert testimony was sought as part of these
                                           proceedings to explain the delay in disclosure in each individual case to enable
                                           the courts to adjudicate on whether the delay in reporting was reasonable (see
                                           McElvaney, 2002). This legal mechanism provided an opportunity to enhance
                                           the knowledge base within the legal profession as to the complexities involved
                                           in disclosing and formally reporting experiences of childhood sexual abuse for
                                           adults. While one might expect that the legal system would be more
                                           sympathetic to children’s difﬁculties in making disclosures, it may also be
                                           the case that the belief that ‘if the child was really sexually abused, why would
                                           they not tell?’, as articulated by Summit (1983), still prevails.
  ‘Concerns that                              In addition, concerns that engagement with the legal system will lead to further
  engagement with the                      psychological trauma need to be considered. A prospective longitudinal study
                                           conducted by Quas et al. (2005) indicated that the consequences of legal
  legal system will lead                   involvement change over the course of development and as a function of the
  to further                               child’s reactions to and experiences during the legal case. The associations
  psychological trauma                     between legal involvement and outcomes varied with age. The authors
                                           suggested that although younger children may be at increased risk for some
  need to be considered’                   adverse outcomes such as mental health problems, older children may be at
                                           increased risk for other undesirable sequelae such as the negative attitudes
                                           of others toward them. Quas and Goodman’s (2011) recent review notes that
                                           older children are more at risk in developing poor mental health outcomes.
                                           Thus, as noted earlier, young people’s fears of the consequences of disclosure
                                           may well be justiﬁed. Raised awareness of both the prevalence of non-disclosure
                                           of sexual abuse and the importance of supporting children to disclose may
                                           go some way to addressing children’s fears.
  ‘Many young people                          One interesting ﬁnding in recent studies is that many young people who
                                           delayed disclosure to an adult had told a friend. McElvaney (2008) and Ungar
  who delayed
                                           et al. (2009b) identiﬁed peer inﬂuence as signiﬁcant in encouraging disclosure
  disclosure to an adult                   among adolescents. There is some suggestion from the research that regardless
  had told a friend’                       of the age at the time of abuse, adolescence may be a ‘critical period’ for
                                           disclosure. It may be that targeting adolescents in general (rather than those
                                           at risk of abuse) may be a powerful prevention tool in encouraging early
                                           disclosure. Evaluations of child abuse prevention programmes have shown
                                           signiﬁcant improvements in the levels of awareness of child abuse in children
                                           and young people (Rispers et al., 1997; Zwi et al., 2007). It may be that the
                                           increasing trend towards peer disclosure is a by-product of such educational
                                           and awareness-raising programmes. There is evidence that public awareness
                                           campaigns when implemented as part of a multi-dimensional strategy that
                                           involves targeting children, parents and communities (see Lalor and McElvaney,
                                           2010, for a review of child abuse prevention programmes) are an effective tool in
                                           the prevention of child abuse.
                                              McElvaney et al. (2012) describe the importance for young people of
                                           containing the secret of abuse and their need for conﬁdentiality following
  ‘An adaptive strategy                    disclosure as representing an adaptive strategy on the part of the young person
  on the part of the                       to contain the experience and his/her emotional reaction to it. The conﬂict
                                           between wanting/needing to keep the secret and wanting/needing to tell is
  young person to
                                           mediated by what they term the ‘pressure cooker effect’. Young people in their
  contain the experience’                  study described inﬂuences from within and without that led to a build up of
                                           pressure, ultimately leading to disclosure. They suggest that building up the
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pressure for young people by providing opportunities to tell may be needed to
help young people tell more promptly. However, the lack of control that young
people experience following disclosure remains an issue (Ungar et al., 2009b;
Quayle et al., 2012). This highlights the need for dissemination of information
directly to young people about the legal process, the possible consequences of
disclosure, as well as ongoing developments in legal proceedings when young
people and their families interface with the legal system.
   The more recent focus on investigating those strategies that children use in                      ‘More recent focus on
making disclosures rather than solely on identifying barriers to disclosure is                       investigating those
perhaps more helpful in informing awareness-raising campaigns and
professional interventions. The author is involved in a large-scale review of                        strategies that
children’s ﬁles in an assessment service to ascertain those factors that helped                      children use in
children tell about their experiences of sexual abuse. A pilot study has                             making disclosures’
suggested that this is an appropriate methodology for gathering data on
children’s experiences of informal disclosure, acknowledging the limitations
of such an approach. Ungar et al. (2009a) describe the optimal conditions for
disclosure as follows: being directly asked about experiences of abuse; having
access to someone who will listen, believe and respond appropriately; having
knowledge and language about what constitutes abuse and how to access help;
having a sense of control over the process of disclosure both in terms of their                      ‘Having a sense of
anonymity (not being identiﬁed until they are ready for this) and conﬁdentiality
                                                                                                     control over the
(the right to control who knows); and effective responses by adults both in
informal and formal contexts.                                                                        process of disclosure
   Ungar et al. (2009b) support recent developments in prevention programmes                         both in terms of their
that target supportive formal and informal caregivers in being better able to                        anonymity and
detect the possibility of abuse and support disclosures rather than focusing
on empowering children themselves in making disclosures. Their ﬁndings in                            conﬁdentiality’
relation to the importance of bridge building for young people to access formal
supports are supported by Jensen et al.’s (2005) emphasis on the dialogical
nature of disclosure, and the important role that trusted adults and peers play
in the disclosure process through noticing signs of psychological distress and
asking young people about their psychological wellbeing (Collings et al.,
2005; Jensen et al., 2005; McElvaney et al., 2012). More emphasis is therefore
needed on providing opportunities for children and young people to disclose.
The challenge for professionals and those who care for children is how to do
this in a way that protects children and promotes their wellbeing.


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                   PSYCHOTRAUMATOLOGY æ

CLINICAL RESEARCH ARTICLE

Predictors of delayed disclosure of rape in female
adolescents and young adults
Iva A. E. Bicanic1*, Lieve M. Hehenkamp1, Elise M. van de Putte2,
Arjen J. van Wijk3 and Ad de Jongh3,4
1
 National Psychotraumacenter for Children and Youth, University Medical Center Utrecht, Utrecht
The Netherlands; 2Department of Paediatrics, University Medical Center Utrecht, Utrecht, The Netherlands;
3
 Department of Behavioral Sciences, ACTA, University of Amsterdam and VU University, Amsterdam,
The Netherlands; 4School of Health Sciences, Salford University, Manchester, United Kingdom


Background: Delayed disclosure of rape has been associated with impaired mental health; it is, therefore, important
to understand which factors are associated with disclosure latency. The purpose of this study was to compare
various demographics, post rape characteristics, and psychological functioning of early and delayed disclosers
(i.e., more than 1 week post rape) among rape victims, and to determine predictors for delayed disclosure.
Methods: Data were collected using a structured interview and validated questionnaires in a sample of 323
help seeking female adolescents and young adults (12 25 years), who were victimized by rape, but had no
reported prior chronic child sexual abuse.
Results: In 59% of the cases, disclosure occurred within 1 week. Delayed disclosers were less likely to use medical
services and to report to the police than early disclosers. No significant differences were found between delayed
and early disclosers in psychological functioning and time to seek professional help. The combination of
age category 12 17 years [odds ratio (OR) 2.05, confidence intervals (CI) 1.13 3.73], penetration (OR 2.36,
CI 1.25 4.46), and closeness to assailant (OR 2.64, CI 1.52 4.60) contributed significantly to the prediction
of delayed disclosure.
Conclusion: The results point to the need of targeted interventions that specifically encourage rape victims to
disclose early, thereby increasing options for access to health and police services.
Keywords: Adolescents; young adults; rape; sexual assault; disclosure; latency to disclosure; posttraumatic stress disorder

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*Correspondence to: Iva A. E. Bicanic, National Psychotrauma Center for Children and Youth,
University Medical Center Utrecht, P.O. Box 85090, NL 3508 AB Utrecht, The Netherlands,
Email: i.a.e.bicanic@umcutrecht.nl

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       revious studies have shown that disclosure of rape                                          groups (De Haas, Van Berlo, Bakker, & Vanwesenbeeck,

P      to formal agencies, such as police or mental health
       services, is uncommon (Fisher, Cullen, & Turner,
2000; Wolitzky-Taylor et al., 2011), especially when the
                                                                                                   2012; Tjaden & Thoennes, 2006), may not receive targeted
                                                                                                   mental health care and may not report the crime to the
                                                                                                   police (Ruch, Coyne, & Perrone, 2000).
rape has been committed on a date or by an acquaintance                                               For reasons of mental health and public safety, it is
and involves the victim’s use of drugs and/or alcohol                                              important to understand the potential factors that are
(Resnick et al., 2000; Wolitzky-Taylor et al., 2011). There is                                     related to disclosure. Timing of disclosure may be a crucial
evidence to suggest that victims believe that professionals                                        factor, as early disclosers are more likely to utilize appro-
will not be helpful to them because their rape experience                                          priate medical care and report to the police than delayed
does not match stereotypical conceptions of rape, such                                             disclosers (Ahrens, Stansell, & Jennings, 2010; Ullman &
as involving a stranger, a weapon, and severe injury                                               Filipas, 2001). In contrast, adults who wait longer than
(Patterson, Greeson, & Campbell, 2009; Resnick et al.,                                             1 month to disclose the rape are more likely to suffer
2000). Accordingly, adolescents and young adults, who                                              from posttraumatic stress disorder (PTSD) and depres-
are more at risk to be victimized by rape than other age                                           sion compared to early disclosers (Ruggiero et al., 2004).
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In addition, adolescents who disclose their rape experience                interventions that increase victims’ opportunities to
at least 1 month after the incident took place are found                   receive timely post-rape services.
to be at higher risk for major depressive disorder and
delinquency (Broman-Fulks et al., 2007) compared to those                  Methods
who disclosed within 1 month.
   Victimassailant relationship is crucial in disclosure                  Subjects and data collection
latency, with victims being at higher risk for delayed dis-                Rape was defined as ‘‘an event that occurred without the
closure if there is a close relation with the assailant (Kogan,            victim’s consent that involved the use or threat of force in
2004; Koss, 1988; Rickert, Wiemann, & Vaughan, 2005).                      vaginal, anal, or oral intercourse’’ (Tjaden & Thoennes,
In contrast, delayed disclosure is less common in victims                  2006). The definition includes both attempted and com-
of a stereotypical rape, i.e., rape by a stranger including a              pleted rape; the term ‘‘completed’’ referring to vaginal,
weapon and injury (Smith et al., 2000). Victims of prior                   oral, anal, or multiple penetrations. Victims who disclosed
sexual trauma are more likely to postpone disclosure of a                  within 1 week were defined as ‘‘early disclosers,’’ whereas
subsequent assault than those without prior victimization                  those who disclosed at least after 1 week were defined as
(Smith et al., 2000; Ullman, 1996). This is in contrast with               ‘‘delayed disclosers.’’ This dichotomization of the variable
the findings of Ahrens et al. (2010), who report no dif-                   ‘‘disclosure latency’’ was based on the study of Ahrens
ference in rates of prior sexual trauma between early and                  et al. (2010) and the national standard criteria for admis-
delayed disclosers. In addition, the victim’s age appears                  sion to a Rape Centre in the Netherlands, i.e., a maximum
to be an important variable in predicting disclosure.                      of 7 days post-rape.
Evidence suggests that young children are at higher risk                      The study was conducted in the Dutch National
for delayed disclosure than adolescents (Kogan, 2004;                      Psychotrauma Centre, which provides psychological ser-
Schönbucher, Maier, Mohler-Kuo, Schnyder, & Landolt,                      vices for rape victims aged 1225 years and their parents.
2012). Thus, various rape and victim-related character-                    Between May 2005 and December 2011, the centre re-
istics have been found to be associated with timing of                     ceived 621 phone calls concerning alleged rape victims
disclosure.                                                                from police authorities, mental health services, and self-
   The majority of the aforementioned studies included                     referrals. In 178 cases, the phone call did not result in
college and adult female rape victims. It is important to                  admission at the centre because of age limitations, or
examine rape disclosure latency in an age and sex group                    motivational reasons. In 108 cases, referrals were made to
that is most at risk for rape victimization. There is only                 other institutions because the index trauma was chronic
one prior quantitative study in adolescents (those aged                    childhood sexual abuse rather than rape in adolescence/
1217 years) that identified factors that might influence                  young adulthood. Of the 335 cases admitted to the centre,
disclosure latency (Kogan, 2004). He found that identity                   12 were not included in this study because of male gender,
of the assailant, a familial relationship with the assailant,              resulting in a final sample of 323 females with the index
and a history of drug abuse in the household were related                  trauma being single rape. Referral sources for this final
to the timing of disclosure. The results suggested that                    sample included the police (33.7%), mental health services
a familial relationship with the assailant will postpone                   (40.7%), and self-referrals, i.e., victims or parents (25.6%).
disclosure, whereas a history of drug abuse in the house-
hold, albeit this seems counterintuitive, makes prompt                     Procedure
disclosure more likely. This study had some limitations,                   During admission, all patients underwent a psychological
including the fact that the interviews were conducted by                   assessment, consisting of 1) a structured interview for
telephone and that the description of the relationship with                obtaining demographic and post-rape characteristics and
the assailant was limited. Therefore, in the present study,                2) self-report questionnaires to obtain information about
we investigated a sample of female adolescent and young                    mental health functioning. Information from the inter-
adult victims of rape who were admitted to a specialized                   view was transcribed onto a form designed for this
mental health centre for victims of sexual assault. The first              purpose. The following variables were obtained and
aim of this study was to compare demographics, post-rape                   dichotomized or categorized for the purpose of the study:
characteristics, and psychological functioning between
early and delayed disclosers in this group. The second aim,                Demographic and victim characteristics
based on the exploratory findings of Kogan (2004), was to                  We asked patients about their current age, educational
determine the predictors for delayed disclosure in adoles-                 level (lower, middle, or higher), and whether they were of
cents and young adults, including age, prior trauma, and                   Dutch origin (i.e., in case of having parents born in the
victimassailant relationship using logistic regression                    Netherlands). Those between 12 and 17 years of age were
analyses. Insight into the predictors for delayed disclosure               defined as adolescents and those between 18 and 25 years
for adolescents and young adults may reveal not only                       of age as young adults. We also asked whether the patient
potential causal mechanisms but also possible targets for                  was living with their parent(s) (yes/no), and whether the

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family structure was complete, i.e., whether the biological                     For the purpose of the study, only the total score was
parents were living together (yes/no). Patients were then                       analysed.
asked to confirm the presence of prior negative sexual
experiences (yes/no), and whether they had a current                            Depression
sexual relationship (yes/no).                                                   Children Depression Inventory (CDI; Kovacs, 1992;
                                                                                Timbremont & Braet, 2002) was used for participants
Rape characteristics                                                            aged 1217 years of age. The CDI is a 27-item ques-
Information about date and time of the rape was ob-                             tionnaire, assessing cognitive, affective, and behavioural
tained to calculate the time since rape at admission. Next,                     symptoms of depression. The Dutch CDI has a satisfac-
patients were requested to describe the rape. Their re-                         tory internal consistency, with Cronbach’s a ranging
sponse was categorized into use of penetration (yes/no),                        between 0.71 and 0.89 (Timbremont & Braet, 2002).
group rape (yes/no), use of physical violence (yes/no), and
                                                                                Behavioural problems
use of threats verbally and/or with a weapon (yes/no).
                                                                                The Youth Self-Report (YSR; Achenbach & Rescorla,
Also, information regarding the victim’s relationship to
                                                                                2001) was used for participants aged 1218 years. This
the assailant was obtained. The assailant was defined as
                                                                                questionnaire evaluates the teenager’s perception of be-
a stranger when the victim had never been in contact
                                                                                havioural and emotional problems. YSR has shown to
with the assailant before the rape. Responses were used
                                                                                be internally reliable (Cronbach’s a’s ranging from 0.71
to form a closeness category (yes in case of family, (boy)
                                                                                to 0.95), and convergent and discriminant validity is
friend, or mentor). Patients were also asked about the
                                                                                reported to be satisfactory (Bérubé & Achenbach, 2006).
(estimated) age of the assailant (categorized into 1217
                                                                                The YSR includes four broadband scales and nine
years or 18 years), and whether the victim had used
                                                                                narrow-band scales to assess behaviour problems. For
alcohol prior to the rape (yes/no).
                                                                                the purpose of the study, only the total score on behaviour
                                                                                problems was included in the analyses.
Post-rape characteristics
Patients were asked when they first talked about the rape.                      General psychopathology
The response was used to calculate the disclosure time                          The Symptom Checklist-90-R (SCL-90-R; Arrindell &
and the help-seeking time. At the end of the interview,                         Ettema, 1986) was used for participants aged 1225 years.
patients were asked whether they had reported to the                            This is a 90-item self-report inventory to assess psycho-
police after the incident (yes/no), and whether they had                        social distress. Patients were instructed to indicate the
received any medical care after the incident (yes/no).                          amount they were bothered by each of the distress
   The study was performed in accordance with the                               symptoms during the preceding week. Patients rated 90
precepts and regulations for research as stated in the                          distress symptoms on a five-point Likert scale with 1
Declaration of Helsinki, and the Dutch Medical Research                         being ‘‘not at all’’ and 5 being ‘‘extremely.’’ The state-
involving Humans Subjects Act concerning scientific                             ments are assigned to eight dimensions, reflecting various
research. According to the Ethical Medical Committee                            types of psychopathology: anxiety, agoraphobia, depres-
of the University Medical Centre Utrecht, this act was not                      sion, somatization, insufficiency, sensitivity, hostility, and
applicable to the present study. Written informed consent                       insomnia. The Global Severity Index (GSI) can be used
was obtained from both patients and parents.                                    as a summary of the test and reflects the severity of all
                                                                                answered statements as a global measure of distress.
Measures                                                                        Cronbach’s a has been found to range from 0.73 to 0.97.
                                                                                For the purpose of the study, only the GSI was analysed.
Posttraumatic stress
The Children’s Responses to Trauma Inventory (CRTI;                             Data analyses
Alisic, Eland, & Kleber, 2006) was used for participants                        To compare demographic and post-rape characteristics
aged 1218 years. This is a 34-item questionnaire asses-                        between the early and delayed disclosers, chi-square tests
sing severity of PTSD symptoms according to DSM-IV.                             were used. To compare multiple continuous psychological
Patients are asked to indicate to what extent a reaction                        scores, MANCOVA was used with ‘‘time since trauma’’ as
to a traumatic event was present during the past week.                          a covariate to correct for the potential influence of time
Scores range from 1 to 5, with higher scores indicating                         since trauma.
more symptomatology. The four subscales: Intrusion,                                Delayed disclosure was used as a dependent variable.
Avoidance, Arousal, and Other Child-Specific Reactions                          The strength of the univariate associations between each
consist of 7, 11, 6, and 10 items, respectively. The reli-                      potential risk factor and delayed disclosure was estimated
ability of this instrument is good to excellent (Cronbach’s                     by calculating the odds ratio (OR) along with 95%
a 0.92 for total score, 0.79 for Intrusion, 0.77 for                            confidence intervals (95% CI). To determine the strongest
Avoidance, 0.71 for Arousal; Alisic & Kleber, 2010).                            risk factors for delayed disclosure, each potential risk

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factor identified in the univariate analyses with a sig-                        Table 2. Victim assailant relationship (N 323) in valid
nificant OR (pB0.05) was entered as a predictor variable                        percentages
into the multivariable model, using a stepwise forward
logistic regression (LR) analysis with delayed disclosure                                                                         N                      %
as the outcome variable. The HosmerLemeshow goodness-
                                                                                Stranger                                         94                     29.5
of-fit chi-square was used to calculate how well the
                                                                                (Ex-)Boyfriend                                   32                     10.0
data fit the model. For all statistical analyses, a p-value
                                                                                Friend                                           33                     10.3
of B0.05 was considered statistically significant.
                                                                                Acquaintance                                     61                     19.1
   All statistical analyses were conducted using SPSS
                                                                                Person met during nightlife                      30                      9.4
(IBM SPSS Statistics for Windows, Version 20.0, IBM
                                                                                Second-degree relative                           15                      4.7
Corp., Armonk, NY).
                                                                                Person seen only once                            15                      4.7
                                                                                Person from school                               14                      4.4
Results                                                                         Person met on the internet                       12                      3.8
                                                                                Colleague                                        10                      3.1
Socio-demographic characteristics                                               Mentor                                             3                     1.0
Socio-demographic characteristics of the sample are pre-
sented in Table 1. Victims’ age ranged from 12 to 25                            higher [t(269) 24.297, p B0.001] compared to the gen-
years, with a mean age of 16.7 years (SD2.7) and a                             eral population (M 118.28, SD32.38; Arrindell &
median age of 16.1 years. Victims’ mean age at time of                          Ettema, 1986). For the CDI, mean scores were in the
rape was 14.3 years (SD 2.7) and a median age of 13.9                          clinical range (M17.2, SD 4.6) and rape victims
years. Penetration occurred in 79.6% of the cases. None                         had significantly higher mean scores (t(230)15,923,
of the victims reported prior chronic child sexual abuse.                       pB0.001), in comparison to previously reported data of
Data about victimassailant relationship are presented in                       the general population of adolescent girls (Timbremont,
Table 2. Victims first disclosed after a mean 20.8 weeks                        Braet, & Roelofs, 2008; M 9.01, SD6.45).
(SD 56.8, range 1624 weeks), although 58.5% of the
cases told within 1 week. First disclosure was to a friend
                                                                                Differences between early and delayed disclosers
(45.8%), parent(s) (17.1%), (ex) boy-friend (9.4%), family
                                                                                Fifty-nine percent of the sample consisted of early dis-
member (6.8%), professional (5.8%), or other adult
                                                                                closers (disclosure within 1 week). No significant differ-
(15.2%). With regard to post-rape services, 53.8% of all
                                                                                ences in demographic characteristics were found between
victims consulted a doctor for medical care and 51.4%
                                                                                early and delayed disclosers, except that there were
reported to the police. On average, victims were admitted                       more delayed disclosers in the age category 1217 years
to the centre 59.8 weeks post-rape (SD 93.7, range                             compared to the early disclosers group (x2 (1)6.96;
1676). The mean GSI of the rape victims on the SCL-90-                         p0.008). For rape characteristics, significant differences
R (M209.7, SD61.8) was comparable with previously                             between groups were found for the use of penetration,
reported data of psychiatric populations [M203.55,                             with more victims of penetration in the delayed disclosers
SD61.60; t(269)1.629, p0.104] and was substantially                          group compared to the early disclosers group (x2 (1)
                                                                                5.37; p0.02). Also, the delayed disclosers group pre-
Table 1. Demographic characteristics of rape victims
                                                                                sented more victims of verbal and/or weapon threats
(N 323) in valid percentages
                                                                                than the early disclosers group (x2 (1)5.35; p0.02).
                                                                                Furthermore, among the delayed disclosers more victims
                                             N                       %
                                                                                identified the assailant as a close person compared to the
Dutch origina                                274                   84.8         early disclosers (x2 (1)10.84; p0.001). Alcohol was
Education levelb                                                                used more often in the early disclosers group compared
    Low                                      182                   58.0         to the delayed disclosers group (x2 (1) 20.24; pB0.001).
    Medium                                   76                    24.2            With respect to post-rape characteristics, a significantly
  High                                        56                   17.8         smaller proportion of the delayed disclosers (15.9%)
Parents divorced                             102                   31.9         utilized medical services following the rape compared
Lives at parental home                       273                   85.3         to the early disclosers (30.3%; x2 (1) 5.32; p0.02).
Current relationship                         81                    26.5         Similarly, a significantly smaller proportion of the delayed
Prior negative sex                           46                    14.8         disclosers (14.6%) compared to the early disclosers
a
                                                                                (34.3%) reported the rape to the police (x2 (1) 16.15;
 Dutch origin was defined as being a child from parents born in
the Netherlands; bafter 6 years of general primary school, at the
                                                                                pB0.001). The time since trauma at admission was sig-
age of 12 years, students enter low (4 years), medium (5 years),                nificantly lower for early disclosers (M 41.1 weeks,
or high (6 years) secondary education level.                                    SD 79.4) than for delayed disclosers (M 82.9 weeks,

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SD 103.3; t(314)4.06, pB0.001). Mean and median                               delayed disclosers were less likely to use medical services
time to seek help were 37.7 and 12.0 weeks, respectively.                       and to report to the police than early disclosers.
Mean time to seek help did not differ between groups                            Furthermore, this study identified a number of factors
(t(309)2.54, p B0.48). Excluding outliers (M93 SD,                             related to the timing of rape disclosure, showing that
N11) did not change the outcome of this analysis. Both                         delayed disclosers represented significantly more adoles-
early and delayed disclosers scored in the highest level                        cents than young adults, significantly more victims of
of psychological distress when compared to previously                           penetration than assault, significantly more victims who
reported norm scores (CRTI, Alisic, Eland, Huijbregts,                          were threatened than not threatened, and significantly
& Kleber, 2012; CDI, Timbremont et al., 2008; YSR,                              more victims who were close with the assailant.
Achenbach & Rescorla, 2001; SCL-90, Arrindell &                                    The finding that delayed disclosers are less likely to
Ettema, 1986), but the MANCOVA results showed that                              utilize medical services and report to the police than early
when comparing multiple continuous psychological                                disclosers is in line with previous studies in adult women
scores, the overall psychological functioning (posttrau-                        (Ahrens et al., 2010; Ullman, 1996; Ullman & Filipas,
matic stress, depression, behavioural problems, and gen-                        2001). It suggests that disclosure latency is important for
eral psychopathology) did not differ significantly between                      public health and safety, as delayed disclosure may not
early and delayed disclosers (F(6,198) 0.88, p0.51).                          only impede reception of proper medical care, such as
   Table 3 shows the ORs with 95% CIs for the associa-                          treating anogenital injuries and preventing the onset of
tions between potential risk factors and delayed disclosure.                    STDs and unwanted pregnancy (Linden, 2011), but also
Delayed disclosers, when compared to early disclosers,                          impede the forensic investigation and apprehension of the
were significantly more likely to be in the age category                        assailant (Lacy & Stark, 2013).
of 1217 years (OR2.10), to have experienced rape by                              Three variables were identified that successfully pre-
a close person (OR2.35), to have been threatened                               dicted delayed disclosure: age category 1217 years,
verbally and/or with a weapon (OR 1.75), and to have                           penetration, and the assailant being a close person. The
experienced penetration (OR1.99). Delayed disclosers                           finding that the victim’s age significantly predicts disclo-
were also found less likely to have used alcohol prior to                       sure latency is in line with previous research showing that
the rape (OR 0.22). None of the other factors were                             adolescents are at a greater risk for delayed disclosure
found to be significant risk factors for delayed disclosure.                    when compared to their older counterparts (Kogan, 2004;
                                                                                Smith et al., 2000). Adolescents may be less able to over-
Predicting delayed disclosure                                                   come the barriers to disclose, including factors such as
A stepwise forward LR analysis was conducted to predict                         assailant tactics for maintaining secrecy, stigma that often
delayed disclosure, using ‘‘age category,’’ ‘‘close assailant,’’                accompanies rape, and fear that their parents would
‘‘use of threats,’’ and ‘‘penetration’’ as predictors. Victims’                 consequently limit their freedom (Crisma, Bascelli, Paci,
alcohol use was not entered in the analysis because of                          & Romito, 2004). Also, as victims approach adulthood,
missing values for 33.4% of the cases. The use of threats                       they may possess more information about their rights and
was not a significant predictor in the model. A test of the                     options after victimization, and have more possibilities for
full model against a constant-only model was statistically                      whom to disclose. In our study, most adolescents disclosed
significant, indicating that the predictors (i.e., age cate-                    the rape event to peers, in line with prior research (Crisma
gory 1217 years, close assailant, penetration) reliably                        et al., 2004; Priebe & Svedin, 2008).
distinguished between early and delayed disclosers (x2                             The use of penetration was found to make victims
(3)23.09, pB0.000). There were no significant interac-                         more likely to postpone disclosure, opposite to the results
tions between the predictors. Nagelkerke’s R2 of 10.5%                          from Priebe and Svedin (2008), but in line with an older
suggests only a modest association between the predic-                          study by Arata (1998), who found that more severe forms
tors and delayed disclosure, although the model did show                        of sexual abuse were associated with less disclosure.
an adequate fit to the data (HosmerLemeshow x2 (4)                            Penetration may influence disclosure latency through
2.77, pB0.60). In total, 62% of the respondents were                            a variety of mechanisms. It could be argued that more
categorized correctly, when using the three predictors                          severe rape, indicated by the use of penetration, is more
that contributed significantly to the prediction of delayed                     likely to be accompanied by extensive coercive use of
disclosure: age category 1217 years (OR 2.05, CI 1.13                         tactics to maintain the victim’s silence, with fear of re-
3.73), penetration (OR 2.36, CI 1.254.46), and closeness                       prisal possibly contributing to the finding of delayed dis-
to the assailant (OR 2.64, CI 1.524.60).                                       closure (Kogan, 2004). Also, adolescents may think that
                                                                                social reactions in response to disclosure are more nega-
Discussion                                                                      tive in case of completed rape compared to assault.
The results of this study show that, although no dif-                              Another factor that seems to make immediate dis-
ferences were found between delayed and early disclosers                        closure of rape less likely is closeness to the assailant,
in psychological functioning and time to seek help,                             as indicated by the assailant being a (boy)friend, family

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Table 3. Demographic and (post )rape characteristics by disclosure time (early vs. delayed disclosers) and odds ratios for
delayed disclosure

                                                     Early disclosure                 Delayed disclosure
                                                           (N185)            (i.e., 1-week post-rape), N 131

Demographic and (post-)rape characteristics            N             %               N                        %                OR            95% CI

Age category (years)
  18 25                                                55         17.4               22                       7.0
  12 17                                               130         41.1              109                   34.5                2.10         1.20 3.65*
Dutch origin
  No                                                   27            8.5             22                       7.0
  Yes                                                 158         50.0              109                   34.5                0.85         0.46 1.56
Living with parent(s)
  No                                                   29            9.2             16                       5.1
  Yes                                                 155         49.2              115                   36.5                1.35         0.70 2.59
Complete family structure
  No                                                   58         18.4               42                   13.3
  Yes                                                 127         40.3               88                   27.9                0.96         0.59 1.55
Current sexual relationship
  No                                                  127         41.8               97                   31.9
  Yes                                                  53         17.4               27                       8.9             0.67          0.39 1.14
Prior negative sexual experience(s)
  No                                                  152         49.4              110                   35.7
  Yes                                                  32         10.4               14                       4.5             0.61          0.31 1.19
Known assailant
  No                                                   56         17.7               36                   11.4
  Yes                                                 129         40.8               95                   30.1                1.15          0.70 1.88
Close to assailant
  No                                                  150         47.6               84                   26.7
  Yes                                                  35         11.1               46                   14.6                2.35          1.40 3.93*
Group rape
  No                                                  160         50.8              116                   36.8
  Yes                                                  24            7.6             15                       4.8             0.86          0.43 1.71
Age of assailant (years)
  12 17                                                63         20.6               54                   17.6
  18                                                 117         38.2               72                   23.5                0.72          0.45 1.14
Use of penetration
  No                                                   46         14.7               19                       6.1
  Yes                                                 136         43.5              112                   35.8                1.99          1.10 3.60*
Use of threats
  No                                                   90         31.6               48                   16.8
  Yes                                                  76         26.7               71                   24.9                1.75          1.09 2.82*
Use of physical violence
  No                                                  130         42.6               82                   26.9
  Yes                                                  51         16.7               42                   13.8                1.31          0.80 2.14
Victim’s alcohol use
  No                                                   72         33.5               69                   32.1
  Yes                                                  61         28.4               13                       6.0             0.22          0.11 0.44*

*pB0.05.
Seven participants were dropped from analyses due to missing disclosure time data.

member, or mentor. This finding is consistent with pre-                    woman was to report this victimization to anyone (Koss,
vious studies showing that the closer the relationship                     1988; Rickert et al., 2005; Wolitzky-Taylor et al., 2011).
between the victim and assailant, the less likely the young                The dynamics of intrafamilial abuse is often proposed as

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the explanation for delayed or non-disclosure (Kogan,                           generalizable to all rape victims, because the percentage
2004; Smith et al., 2000). In the present study, however,                       of victims that consulted a medical professional and
only 5% of the assailants were identified as a family                           reported to the police was higher in our sample than in
member. Most close relationships referred to (boy)friends,                      most studies (Hanson et al., 2003; Resnick et al., 2000;
suggesting that a significant percentage of the sample                          Zinzow, Resnick, Barr, Danielson, & Kilpatrick, 2012).
experienced peer-to-peer victimization. This type of vic-                       Perhaps, these differences could, at least partially, be
timization is most likely to occur during adolescence, as                       explained by the fact that stranger rape, representing 30%
compared to childhood or young adulthood, and greatly                           of our sample, leads to higher likelihood of help-seeking
increases the risk of revictimization (Humphrey & White,                        and police reporting because of its association with higher
2000). Hence, victims of rape by peers may be a target                          acknowledgment of victim status (Resnick et al., 2000;
group for interventions promoting early disclosure.                             Smith et al., 2000). The fact that this is a help-seeking
   Clearly, there are many variables working in tandem to                       sample is critical for the reasons cited in the discussion,
affect the timing of victim’s disclosure. A closer look at                      but also because the generalizability of these data to rape
the final model, which identified three unique variables that                   victims who never tell anyone*perhaps the group most
contributed significantly to the prediction of delayed dis-                     at risk*simply cannot be known. Besides these limita-
closure, can help us to better understand the phenomenon                        tions, several strengths of the current study need to be
of initial disclosure in adolescents and young adults.                          noted. One strength is the unique set of adolescents and
Younger adolescent victims who are raped by a close per-                        young adults who presented at a mental health care
son are more likely to delay disclosure than older victims                      centre after a single rape event, but who reported no prior
of attempted rape by a stranger or acquaintance. Perhaps,                       chronic sexual abuse in childhood. For 85% of the
they struggle with the notion that someone close to them                        sample, the index trauma was a first time rape. Moreover,
performed such a violent act against them, which con-                           data were collected at a designated referral centre for
fuses them about what might happen in terms of safety                           victims of rape and, therefore, the sample is likely to
if they would disclose (or not). This finding is especially                     represent the clinical population of Dutch victims in the
important in the light of the fact that approximately 80%                       age group of 1225 years.
of victims had some sort of relationship with their per-                           The findings of the current study, suggesting that
petrator prior to the assault (Basile, Chen, Black, &                           delayed disclosers are less able to benefit from emergency
Saltzman, 2007). With regard to rape types, it would                            medical care and evidence collection, have a number of
intuitively seem that less severe forms of sexual assault                       practical implications. One of the strategies to enhance
are associated with delayed disclosure and that completed                       victims’ willingness to disclose within the first week post-
rape would be easier to identify as clearly inappropriate                       rape may be sexual education campaigns in school and
and wrong. Victims of completed rape, however, may be                           media, as being uninformed is one of the reasons for them
more likely to experience negative psychological reac-                          not to disclose (Crisma et al., 2004). Education may
tions, e.g., self-blame and avoidance coping. It is con-                        include medical information on rape-related pregnancy
ceivable that they delay their disclosure as a result of                        and STDs, as well as the need for timely emergency
rape-induced psychological distress (Starzynski, Ullman,                        contraception and prophylaxis, given that these concerns
Filipas, & Townsend, 2005), not necessarily the severity                        appear to be facilitators of seeking medical help (Zinzow
of the assault.                                                                 et al., 2012). Also, practical information about DNA evi-
   Although the final model showed acceptable goodness                          dence and how to best protect it, e.g., related to shower-
of fit, the percentage of explained variance of delayed                         ing, clothing, eating, and drinking, may increase the
disclosure was modest. Thus, there must be other variables                      awareness of opportunities in the early-phase post-rape.
predictive of delayed disclosure, such as the assailant’s                       Moreover, facts about the potential psychological impact
use of alcohol or weaker support systems, that we did not                       of rape, such as PTSD and revictimization, but also in-
assess in this study. Besides this limitation, there are other                  formation about evidence-based treatments (Elwood et al.,
drawbacks of this study that should be mentioned. First,                        2011; Littleton & Ullman, 2013; McLaughlin et al., 2013),
a clinical sample was used with patients reporting high                         may increase help-seeking behaviour in an early stage.
mean levels of psychological distress. This ceiling effect                      Furthermore, efforts to encourage early disclosure must
may explain why no differences were found between                               consider peer-to-peer victimization as a primary factor,
early and delayed disclosers on psychological function-                         as most participants in this study experienced this type
ing, contrary to prior studies (Broman-Fulks et al., 2007;                      of victimization, and may initially not have defined or
Ruggiero et al., 2004). Second, posttraumatic stress was                        acknowledged the incident as rape because they rationalize
only assessed for children up to 18 years, and for young                        such experiences as normal (Hlavka, 2014), leading to the
adults additional suitable measures were not used. Third,                       finding of delayed disclosure.
information could have been lost due to dichotomizing                              In conclusion, the results of the present study suggest
the variable disclosure latency. Fourth, results may not be                     that adolescent victims of rape with penetration by

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someone close are at increased risk for delayed disclosure,                References
and that delayed disclosers are less likely to use medical
services and to report to the police. These findings may                   Achenbach, T. M., & Rescorla, L. A. (2001). Manual for the ASEBA
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assist clinicians and policymakers in understanding rape                         Vermont, Research Centre for Children, Youth, and Families.
and help to develop interventions (Unterhitzenberger &                     Ahrens, C. E., Stansell, J., & Jennings, A. (2010). To tell or not
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living at their parental home, many of the sample did                            trauma inventory revised version]. Amsterdam: Boom test
not first disclose to their parents. Therefore, it could be                      uitgevers.
argued that in prevention programs specific attention                      Alisic, E., Eland, J., & Kleber, R. J. (2006). Schokverwerkingslijst
                                                                                 voor Kinderen herziene versie [Children’s responses to trauma
should be given to the strengthening of the childparent
                                                                                 inventory revised version]. Utrecht: Institute for Psychotrauma
relationship, to facilitate disclosure to parents (Schönbucher                  in collaboration with Clinical Psychology (University of
et al., 2012). Next, as victims tend to disclose mostly to                       Utrecht) and Psychotrauma Centre for Children and Youth
peers, prevention programmes may need to aim at teach-                           (University Medical Centre Utrecht).
ing adolescents how they can help a peer victim if they                    Alisic, E., & Kleber, R. J. (2010). Measuring posttraumatic stress
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outreach programs via communication channels that are                            bij een multidimensionele psychopathologie indicator [SCL 90:
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only the stereotypical idea of rape and what (not) to do in                      of Vermont, Research Centre for Children, Youth and
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the aftermath of rape especially in the first week post-
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may be the most suitable places to organize education                            multidisciplinary public approach, Journal of Aggression.
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